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    EXHIBIT 1




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From:                              Ryan Zawistowski (Hylan) <ryan@hylanasset.com>
Sent:                              Thursday, May 7, 2015 12:02 PM
To:                                Hirsh Mohindra ; Preetesh Patel
Cc:                                Andrew J. Shaevel (Hylan) ; Jon's Gmail Account ; "Greg Grigorian (Hylan)"
Subject:                           Account Issue
Attachments:                       (Alternate Body); image001.jpg; image002.png; image003.png


 Good Morning Hirsh- Recently we have been receiving quite a few complaints on the file we purchased on 10/10/2014.
They are complaining of getting paid letters and we have continued to take the position that the paid letters must
differentiate the loans on several characteristics including loan date, charge off date, creditor, etc… We have sold a slice
of this portfolio and the buyer is raising an issue about paid priors. We asked him to provide documentation and he sent
over paid letters from two agencies we are familiar with. We reached out to those agency’s owners and asked them to
provide us with more information about the loans in questions. We have learned that they purchased these loans from a
different seller (independent of Hylan or any Hylan connection). We compared their loans to our loans and found that
the Open Date, Creditor, Account number, and Charge Off Date are all the exact same. We are concerned about how
many factors these loans match on. Here is the information on the loans owned by Spire and Tier One (the other
agency): IMG [994] Here is the information on the loans owned by Hylan, purchased from Ashton on 10/10/14: IMG
[1186] We have heard significant noise from several different agencies on this file. Most of this file is not deployed yet,
so there hasn’t been much activity to generate these complaints, but as we are placing more out, we are getting
consistent complaints. We have asked the agencies to provide documentation and this is the first example that we can
get the full picture, because we are friendly with the agency that owns the other loans. Can you please take a look at
this and let us know your thoughts. We would like to try to resolve this noise as we are getting strong pressure from our
investors to liquidate this file more rapidly. Please call me if you have any questions… Thanks,

Ryan
 Ryan Zawistowski Operations Manager IMG [206]5477 Main Street Amherst, NY 14221 (716) 580-3135 ext: 107 -
Office (855) 275-3651 - Toll-Free Hot Line (716) 580-3137 - Fax www.hylanasset.com [http://www.hylanasset.com/]
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From:                              Gaurav Mohindra <gmohindra@randmlegal.com>
Sent:                              Monday, January 11, 2016 9:34 AM
To:                                Hirsh Mohindra
Subject:                           Fwd: Email to Agencies
Attachments:                       (Alternate Body); image001.jpg; (Alternate Body)




Sent from my iPhone
Begin forwarded message:

From: "Andrew J. Shaevel" <andrew.shaevel@bobalew.com [mailto:andrew.shaevel@bobalew.com] >
Date: January 11, 2016 at 8:27:04 AM CST
To: "Ryan Zawistowski (Hylan)" <ryan@hylanasset.com [mailto:ryan@hylanasset.com] >, "Greg Grigorian (Hylan)"
<Greg@hylanasset.com [mailto:Greg@hylanasset.com] >
Cc: Jon's Gmail Account <barabanus@gmail.com [mailto:barabanus@gmail.com] >, Christian Lovelace
<clovelace@lippes.com [mailto:clovelace@lippes.com] >, "gmohindra@randmlegal.com
[mailto:gmohindra@randmlegal.com] " <gmohindra@randmlegal.com [mailto:gmohindra@randmlegal.com] >
Subject: Email to Agencies

 Ryan/Greg: Please email the following message under your signature to agencies actively collecting for HDF. Please let
me know if you think we should modify this message in any way. January 11, 2016 Dear Agency: As an independent
collection agency engaged by Hylan Asset Management, LLC on behalf of its clients, we hereby request an additional
report to assist us in managing our warranties from originators and our communications with debtors. Effective today,
we ask that you send us a periodic report listing any debtors that dispute the validity of their debt. Please know that we
may contact these debtors to further explore their claim. In the meantime, please follow our prior instructions to (i)
status these accounts as “Disputes” and (ii) cease to any further collection of these accounts. For each debtor
disputing their debt, please provide the following information in the form an excel spreadsheet: ·        Agency Name ·
Hylan ID Number ·       Debtor Last Name ·        Debtor Telephone Number (where contact was made) p
class="MsoListParagraph" style="text-indent:-.25in;mso-list:l0 level1 lfo1"·       Date of Contact with Debtor ·      Name
of Collector Please provide this report no less frequently than once per week. If you have any questions, please contact
our offices at your convenience. Andy
 Andrew J. Shaevel Chief Executive Officer IMG [288]Bobalew Ventures 5477 Main Street Amherst, New York 14221
(716) 580-3133 - Office (716) 860-1125 - Mobile (716) 580-3137 - Fax
 website [http://www.bobalew.com/] CONFIDENTIALITY NOTICE: This communication and any attachments are
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Thank you.




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From:                              Jon <barabanus@gmail.com>
Sent:                              Sunday, August 23, 2015 7:56 PM
To:                                Hirsh Mohindra
Subject:                           Fwd: Hylan
Attachments:                       (Alternate Body)


FYI - too bad. I have two more right now. Have to go meet with all the big guys, someone will buy. This guy wasn't
against the idea, but he didn't want to go thrifting the bookshop of explaining the new product to the owner who
already was against all pay days anyway

Sent from my iPhone
Begin forwarded message:

From: Lance DellaMea <LDellaMea@mercantilesolutions.com [mailto:LDellaMea@mercantilesolutions.com] >
Date: August 21, 2015 at 4:37:20 PM EDT
To: "Bruce H. Gray" <bruce.h.gray@gmail.com [mailto:bruce.h.gray@gmail.com] >, "barabanus@gmail.com
[mailto:barabanus@gmail.com] " <barabanus@gmail.com [mailto:barabanus@gmail.com] >
Subject: FW: Hylan

  From: Brett Murray [mailto:Brett.Murray@credigy.net [mailto:Brett.Murray@credigy.net] ]
Sent: Friday, August 21, 2015 4:33 PM
 To: Lance DellaMea <LDellaMea@mercantilesolutions.com [mailto:LDellaMea@mercantilesolutions.com] >
 Subject: RE: Hylan Interesting and impressive guy. I’m glad you set up the meeting. We have some follow-ups for sure,
but nothing immediate based on the file he has available now. We don’t have any interest in paydays, even the way he’s
packaging it. Have a good weekend. -- Brett Murray | External Resources Manager + 1 (678) 684-4148
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From:                              Andrew J. Shaevel <andrew.shaevel@bobalew.com>
Sent:                              Thursday, February 19, 2015 10:49 AM
To:                                Mohindra Hirsh
Cc:                                Jon's Gmail Account
Subject:                           Fwd: Payday Lenders


FYI. This might be an issue.


Andy
Andrew J. Shaevel, CEO Bobalew Ventures 5477 Main Street [x-apple-data-detectors://3/0] Amherst, New York 14221
USA [x-apple-data-detectors://3/0]
(716) 580-3133 [tel:(716)%20580-3133] - Office
(716) 860-1125 [tel:(716)%20860-1125] - Mobile
(716) 580-3137 [tel:(716)%20580-3137] - Fax
andrew.shaevel - Skype

Sent from my iPad, please forgive any spelling mistakes or typos.
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intended recipient. If you have received this transmission in error, any disclosure, copying, distribution or the taking of any
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contact the sender immediately and delete the original message. Thank you.

Begin forwarded message:

From: "Greg Grigorian (Hylan)" <Greg@hylanasset.com [mailto:Greg@hylanasset.com] >
Date: February 19, 2015 at 10:16:47 AM EST
To: "Andrew J. Shaevel (Hylan)" <Andy@hylanasset.com [mailto:Andy@hylanasset.com] >, Jon's Gmail Account
<barabanus@gmail.com [mailto:barabanus@gmail.com] >
Subject: FW: Payday Lenders

Please advise how I should respond to this?????? From: grega@ufsworks.com [mailto:grega@ufsworks.com]
[mailto:grega@ufsworks.com [mailto:grega@ufsworks.com] ]
Sent: Wednesday, February 18, 2015 8:49 PM
 To: Greg Grigorian (Hylan)
 Cc: grega@ufsworks.com [mailto:grega@ufsworks.com]
 Subject: Payday Lenders
 Importance: High Hi Greg: Please have a look at the article below, which references lenders in the portfolio sold to
UFS. Are you aware of this? U.S. halts payday loan schemes that siphoned $162 million from consumers'
accounts CLEVELAND, Ohio -- The U.S. government shut down two online payday lenders that siphoned a combined
$162 million from consumers' bank accounts in what regulators described as a "cash-grab scam." The payday lenders
used information from online loan shopping sites to deposit loans in unwitting consumers' accounts and then repeatedly
dinged them for finance charges. "It is an incredibly brazen and deceptive scheme," said Richard Cordray, director of the
Consumer Financial Protection Bureau, which joined the Federal Trade Commission in tag-team enforcement actions.
When people disputed the debits with their banks, the lenders fabricated documents that purported to show consumers
had agreed to the loans, Cordray said. As a result, banks sometimes sided with the payday lenders, and customers lost
their disputes. And if consumers tried to close their bank accounts to avoid charges, they were hounded by debt
collectors. As many as 2,300 consumers nationwide complained to the CFPB and FTC about the unwanted payday loans.
Two separate lending groups used the same basic scheme, which started with online payday loan shopping sites known
as lead generators. Consumers shared personal and banking information with the sites, which promise to match
consumers with lenders. The payday lenders bid for these sales leads. Once the payday groups had consumer
information in hand, they deposited "payday loans" of several hundred dollars into people's bank accounts without their
consent. Every two weeks, the companies then debited finance charges as high as $90 from their unwitting customers'
accounts. Both companies established multiple corporate identities in what the agencies said was an attempt to throw off
banks and regulators. "There were some consumers who appear to have actually applied for the loans," said Jessica

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Rich, director of the Federal Trade Commission. "But make no mistake: even these consumers were horribly deceived
about the costs of the loans." The payday group the FTC sued advertised one-time fees, but repeatedly tapped accounts,
in some cases, until they were drained, she said. Rich warned consumers who are shopping for loans online not to share
personal information with companies they don't know -- because they sell it to other companies, some of whom might be
scammers. "We're seeing more and more of these types of scams," she said. Rich said the agency is trying to identify
online brokers who sold the information to the sued payday lenders. The CFPB won a court order temporarily halting
Hydra Group, which the bureau said made as much as $97 million in payday loans and collected as much as $115 million
from customers' bank accounts since 2011. The CFPB's lawsuit names Richard F. Moseley Sr., Richard F. Moseley Jr.,
and Christopher J. Randazzo, who control the Hydra Group. Other companies in the group include SSM Group, Hydra
Financial Limited Funds, PCMO Services and Piggycash Online Holdings. In a separate action, the FTC got a temporary
court order shutting a web of companies owned by Timothy Coppinger and Frampton (Ted) Rowland III. Those include
limited liability companies known as CWB Services; Orion Services; Sandpoint; Sand Point Capital; Basseterre Capital;
Namakan Capital; Vandelier Group; St. Armands Group; Anasazi Group; Anasazi Services; Longboat Group, dba Cutter
Group; Oread Group, dba Mass Street Group. The FTC said the CWB Services group made an estimated $28 million in
loans and collected $47 million from consumers' accounts in an 11-month period. The court appointed a receiver. Both
suits seek restitution for consumers. Greg Apostolou President &Chief Executive Officer Universal Financial
Systems 5877 Pine Avenue, Suite 200 Chino Hills, CA 91709 T: (800) 837-5456 | F: (877) 240-7010
grega@ufsworks.com [mailto:grega@ufsworks.com] | www.ufsworks.com [http://www.ufsworks.com/] Important: This
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reading it. Thank you. li




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From:                              Hirsh Mohindra <hirsh@ashtonasset.com>
Sent:                              Thursday, November 20, 2014 1:49 PM
To:                                Preetesh Patel
Subject:                           Fwd: Problem with BMG 10m accounts
Attachments:                       (Alternate Body)


Take a look will discuss with you in few

Thank you,Hirsh MohindraAshton Asset Management500 Quail Ridge Dr.Westmont, IL 60559P:
630.479.0000www.ashtonasset.com [http://www.ashtonasset.com] Begin forwarded message:

From: "Andrew J. Shaevel" <andrew.shaevel@bobalew.com [mailto:andrew.shaevel@bobalew.com] >
Date: November 20, 2014 at 12:47:40 PM CST
To: Hirsh Mohindra <hirsh@ashtonasset.com [mailto:hirsh@ashtonasset.com] >
Cc: "Jeffrey Brooks (Hylan)" <Jeff@hylanasset.com [mailto:Jeff@hylanasset.com] >, Jon's Gmail Account
<barabanus@gmail.com [mailto:barabanus@gmail.com] >
Subject: FW: Problem with BMG 10m accounts

 This is an issue that has been raised from the first batch of the most recent batch of accounts (internal collected
Graywave). Thoughts? Andy To: Jeff Brooks <jeff@hylanasset.com [mailto:jeff@hylanasset.com] >
 Subject: FW: Problem with BMG 10m accounts FYI – Uh oh.. From: Oleg Kio <okio@urgonline.com
[mailto:okio@urgonline.com] >
 Date: Thursday, November 20, 2014 at 10:29 AM
 Cc: Angel Lopez <alopez@urgonline.com [mailto:alopez@urgonline.com] >, Felix Lopez <flopez@urgonline.com
[mailto:flopez@urgonline.com] >
 Subject: Problem with BMG 10m accounts David, As I mentioned yesterday, we are having issues with the BMG
accounts. Considerable number of people are saying that they never received the loan and we were able to get a few
bank statements showing that there was no deposit matching the loan amount anywhere near the loan date. If this
continues, we are looking into taking these accounts off the floor and getting a refund... Below are some examples.
RODNEY AHTUANGARUAK
     -xx-
 TRIPLE SERVICES LLC
 Bank statement does not show any deposits matching loan amount

VIKTORIA VAN EYCKE
    -xx-
EPPROCESSING
Bank statement does not show any deposits matching loan amount

GLENDON ARVIN
   -xx-
JHS MARKETING
Bank statement does not show any deposits matching loan amount

SANDRA BEITER
   -xx-
VISTA HOLDINGS GROUP
Bank statement does not show any deposits matching loan amount

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From:                              Andrew J. Shaevel <andrew.shaevel@bobalew.com>
Sent:                              Friday, November 7, 2014 11:31 AM
To:                                Hirsh Mohindra ; Preetesh Patel
Cc:                                Jon's Gmail Account ; "Ryan Zawistowski (Hylan)"
Subject:                           Internal Collected Graywave File
Attachments:                       (Alternate Body); image001.jpg


 Hirsh – There is a MAJOR problem with data on this file. Either there was a data transformation error or there is major
FRAUD with this file. Ryan discovered that there are debtors with the same name and address that have different SSNs,
same bank accounts but different names and/or SSN’s. THIS IS NOT KOSHER! Andy
 Andrew J. Shaevel Chief Executive Officer IMG [288]Bobalew Ventures 5477 Main Street Amherst, New York 14221
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From:                                  Andrew Shaevel <andy@hylanasset.com>
Sent:                                  Wednesday, November 11, 2015 7:57 AM
To:                                    Larrygitman@gmail.com; jacob@prudentgroup.us
Cc:                                    Jon Purizhansky; hirsh@ashtonasset.com
Subject:                               Participation Agreements bewteen HDF PS 110 and LGN - November 11, 2015
Attachments:                           UPDATED HDF BANK INFORMATION.PDF; HDF PS-110 - Participation Agreement -
                                       2015-11-11 - LGN FInancial LLC.pdf


Jacob & Larry –

Based on your recent discussions with Jon, attached please find the participation agreements that purchase the cash
flows from the liquidations of $13.4M of BMG Warehouse debt acquired from Ashton Asset Management and Hylan
Debt Fund. The agreed upon purchase price of the Participation Interests is $200,000 and Hylan Asset Management will
earn a management fee of 5% consistent with our first deal. Please execute this agreement and send back to me a
scanned image of the executed documents. In addition, I have attached our wire instructions, please instruct your bank
to wire $200,000 to Hylan Debt Fund, LLC.

If you have any questions, feel free to contact Jon or me at your earliest convenience.

Warm regards…

Andy

                                             5477 Main Street
        Andrew J. Shaevel                    Amherst, NY 14221
       Chief Executive Officer               (716) 362‐7855 ‐ Office
                                             (716) 580‐3137 – Fax
                                             (716) 860‐1125 ‐ Mobile
                                             www.hylanasset.com

NOTICE: Hylan Asset Management, LLC (Hylan) is the Manager of Hylan Debt Fund, LLC (HDF), a Delaware Series LLC, and the
issuer of various series and/or securities registered with the Securities and Exchange Commission. Any inquiries about HDF or one of
its various series may be directed to Hylan.

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                              PARTICIPATION AGREEMENT

This Participation Agreement (“Agreement”) is entered into as of the 11th day of November,
2015 (the “Effective Date”), by and between HYLAN DEBT FUND, LLC - PORTFOLIO
SERIES 110, a Delaware series limited liability company, (the “Company”) and LGN
FINANCIAL, LLC, whose address is 1111 Kane Concourse, Suite 518, Bay Harbour Islands,
Florida 33154, (the “Participator” and each of the Company and Participator being a “Party” and
together the “Parties”).

                                          RECITALS:

        The Company is in the business of acquiring, managing, liquidating and/or disposing of
distressed consumer debt obligations and currently has purchased or has contracted to purchase
the Portfolio (as defined hereafter).

       Participator desires to purchase derivative cash flows by participation hereunder and the
Company desires to sell a percentage of net cash flow of the Portfolio that the Portfolio produces
under the terms and conditions herein.

        In consideration of the mutual covenants contained in this agreement and for other good
and valuable consideration, the receipt and sufficiency of which is hereby acknowledged, the
parties hereby agree as follows:

         1.    Definitions.

         (a)   “Effective Date” shall have the meaning ascribed to such term in the Preamble
above.

        (b)     “Governmental Entity” means any government or subdivision thereof, any
governmental agency, department, bureau, commission, authority or instrumentality, court or
arbitration tribunal of competent jurisdiction, and any governmental or non-governmental self-
regulatory organization, agency or authority, whether international, foreign, domestic, federal,
state or local.

       (c)     “Gross Collections” shall be debtor payments received by collection agencies or
law firms for accounts owned by Company.

         (d)   “Incentive Fee” shall have the meaning ascribed to such term in Section 5 below.

        (e)    “Law” means any constitutional provision, statute or other law, rule, ordinance,
regulation, administrative ruling or executive order in the United States of America, any foreign
country or any domestic or foreign national state, provincial, municipal or other local political
subdivision thereof issued or promulgated by any Governmental Entity.




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         (f)     “Liens” means any and all liens, pledges, encumbrances, claims, charges, security
interests, rights of sellers and any third party, rights of redemption, equities, and any other
restrictions or limitations of any kind or nature whatsoever.

         (g)   “Manager” shall have the meaning ascribed to such term in Section 2(a).

         (h)   “Management Fee” shall have the meaning ascribed to such term in Section 4
below.

       (i)     “Net Collection Proceeds” shall mean the proceeds received by the Company
from collection agencies and law firms as a result of the Portfolio being placed and collected
upon by such collection agencies or law firms net of collection expenses.

        (j)     “Net Portfolio Cash Flow” shall mean the net derivative cash flow generated by
the Portfolio, and further defined as the Portfolio Cash Flow net of the Management Fee and
Incentive Fee.

       (k)     “Participation Percentage” shall have the meaning ascribed to such term in
Section 2(b) below.

        (l)      “Portfolio” shall mean the portfolio as detailed on Exhibit A attached hereto may
be comprised of retail credit card accounts, pay day loans, installment loans, title loans, student
loans, automobile loans, home equity loans, mortgages, or other accounts, payables or payment
intangibles, including, without limitation, any retail credit card account or other account, payable
or payment intangible with respect to which there is a fresh, primary, secondary, tertiary or
warehouse charged-off consumer receivable (including a VISA/MasterCard receivable, private
label credit card receivable, consumer loan, line of credit or any other asset class) which are
written off by a selling institution or other applicable party pursuant to their accounting practices
and that are: (i) purchased by the Company within sixty (60) months from the date of charge-off,
(ii) have average balances of less than $5,000 per account, (iii) are originated accounts within the
United States, and (iv) that shall either (x) not have been collected upon by a third-party since
being sold by the originator of the account or (y) have only been owned and collected upon by
one owner prior to being acquired by the Company.

      (m)     “Portfolio Cash Flow” shall mean the sum of the Net Collection Proceeds and the
Residual Proceeds.

       (n)      “Portfolio Net Revenue” shall mean the Net Portfolio Cash Flow for the Portfolio
in excess of the Company’s purchase price for the Portfolio.

        (o)     “Residual Proceeds” shall mean the proceeds received by the Company from the
re-sale of the Portfolio, net of any broker fees or sale related expenses.




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       2.      Participation.

        (a)    The Company, or Hylan Asset Management, LLC (the “Manager’) on behalf of
the Company, has purchased or has agreed to purchase, the Portfolio containing approximately
$13,400,000.00 of delinquent and/or charged-off consumer loan accounts for a total purchase
price of $200,000.00 pursuant to one or more Purchase and Sale Agreements dated November
11, 2015.

        (b)    The Participator agrees to a purchase 100% percent participation interest in the
Net Portfolio Cash Flow produced by the Portfolio (the “Participation Percentage”) for a
purchase price of One hundred thousand Dollars and zero cents (US $200,000.00) to be payable
by wire transfer of immediately available funds to the Company, subject to the terms and
conditions contained herein. Such Participation Percentage entitles the Participator only to a
percentage of the derivative cash flows produced by the assets of the Portfolio in an amount
equal to the Net Portfolio Cash Flow multiplied by the Participation Percentage.

        (c)     Notwithstanding Participator’s purchase of the Participation Percentage in the
derivative cash flows produced by the Portfolio, the Participator hereby expressly acknowledges
that Participator does not own or have any right or title to the Portfolio nor the underlying
consumer debt accounts that compose the Portfolio. Company hereby acknowledges an on-
going liability to Participator equal to the Participation Percentage multiplied by the Net
Portfolio Cash Flows.

       3.    Portfolio Management Services by Manager. With respect to the Portfolio, the
Company has appointed Manager to provide portfolio management services on its behalf, and as
such the Manager is responsible for, among other things, the following:

        (a)     Appending data to the Portfolio from third party data sources;
        (b)     Identifying and contracting with agencies to liquidate accounts in the Portfolio;
        (c)     Marketing the Portfolio for resale;
        (d)     Distributing the Net Portfolio Cash Flow generated from the resale of the
Portfolio to the Participator and other participators if any in the Portfolio pursuant to this
Agreement; and
        (e)     Executing any documents necessary to facilitate the sale or liquidation of the
Portfolio.

       4.      Management Fee. The Manager shall be paid a management fee of five percent
(5%) of the Net Collections and Residual Proceeds (the “Management Fee”). Such Management
Fee shall be paid to the Manager immediately out of Portfolio Cash Flow actually received by
the Company from the proceeds of the Portfolio.

       5.     Incentive Fee. The Manager shall be paid an incentive fee equal to zero percent
(0%) of the Portfolio Net Revenue (the “Incentive Fee”) to be paid as earned and as received by
the Company. Such Incentive Fee shall be paid to the Manager immediately out of Portfolio
Cash Flows actually received by the Company from the proceeds of the Portfolio.



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       6.      Portfolio Cash Flow; Portfolio Statements.

        (a)    Following the payment of the Management Fees and Incentive Fees, the
Participator shall be paid the Participation Percentage of the Net Portfolio Cash Flow. The
Company shall make such payments to the Participator weekly immediately following the receipt
of Net Portfolio Cash Flow by the Company via ACH or wire transfer to an account designated
by Participator to the Company in writing. The Company may deduct from the payments of
derivative cash flow made to Participator the cost to wire any such payment to Participator.

       (b)      The Company shall deliver to the Participator within fifteen (15) business days of
the end of each calendar month a statement of the Portfolio, which shall include information
describing (i) the acquisition of the Portfolio, and (ii) Portfolio Cash Flow received by the
Company attributable to the Portfolio, including the amount of Net Collection Proceeds,
Residual Proceeds, Management Fees paid, and Incentive Fees paid.


       7.      Term of Agreement.

        (a)     This Agreement shall remain in effect until such time as all assets of the Portfolio
are either liquidated or sold, the sale of which shall be in the Company’s sole discretion.

        (b)     If the Portfolio does not generate any Portfolio Cash Flow for a period of ninety
(90) days or more, the Company may in its sole discretion choose to sell all the remaining
accounts of the Portfolio at a purchase price of 0.05% of the face value of the accounts remaining
in the Portfolio that have not otherwise been sold to third-parties to the Manager and all Net
Portfolio Cash Flow shall be distributed in accordance with Section 6 above.

        8.      Representations and Warranties of Company as to the Portfolio. Company
represents and warrants to Participator that, as to the Portfolio, the following is true and correct
as of the Effective Date:

        (a)     Title. Company has good, marketable and valid title to, and is the owner of, the
Portfolio, free and clear of all Liens. No effective financing statements or like instruments will
be on file in any jurisdiction with respect to any of the Company’s rights in the Portfolio.

       (b)    Compliance. The Portfolio has been purchased and maintained by the Company in
compliance with all applicable Laws.

        (c)      Authority to Sell and Assign. The Company has full right and authority to sell and
assign its interest in the Portfolio.

         9.      Confidentiality. The terms of this Agreement are strictly confidential and neither
it nor its substance shall be disclosed publicly or privately, without the prior written consent of


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the Company. Such restriction shall not apply to information which is required to be disclosed by
applicable law, regulation or court order.

       10.     Miscellaneous.

     (a)   Securities Disclosure. NEITHER THE UNITED STATES SECURITIES AND
EXCHANGE COMMISSION NOR ANY REGULATORY AUTHORITY OF ANY STATE OR
OTHER JURISDICTION, FOREIGN OR DOMESTIC, HAS REVIEWED, APPROVED OR
DISAPPROVED THIS AGREEMENT OR THE PARTICIPATION (COLLECTIVELY, THE
“SECURITY”). ANY REPRESENTATION TO THE CONTRARY IS UNLAWFUL.

THIS SECURITY HAS NOT BEEN REGISTERED UNDER THE UNITED STATES
SECURITIES ACT OF 1933, AS AMENDED (THE “SECURITIES ACT”) OR ANY OTHER
LAW, AND THE COMPANY IS UNDER NO OBLIGATION TO REGISTER THE
SECURITY UNDER THE SECURITIES ACT OR ANY OTHER APPLICABLE LAW IN THE
FUTURE.

THIS SECURITY MAY NOT BE SOLD, PLEDGED, HYPOTHECATED, DERIVATED OR
OTHERWISE TRANSFERRED IN THE ABSENCE OF AN EFFECTIVE REGISTRATION
UNDER THE SECURITIES ACT AND OTHER APPLICABLE LAWS OR AN OPINION OF
COUNSEL SATISFACTORY TO THE COMPANY THAT SUCH REGISTRATION IS NOT
REQUIRED. BASED UPON THE FOREGOING, THE PARTICIPATOR MUST BE
PREPARED AND DOES HEREBY REPRESENT THAT PARTICIPATOR IS ABLE TO
BEAR THE ECONOMIC RISK OF INVESTMENT THEREIN FOR AN INDEFINITE
PERIOD OF TIME.

PARTICIPATOR ACKNOWLEDGES NO ONE HAS MADE ANY REPRESENTATIONS
OTHER THAN WHAT IS SET FORTH HEREIN AND NO ONE IS AUTHORIZED TO
MAKE ANY SUCH REPRESENTATION.

THIS SECURITY IS A RESTRICTED SECURITY UNDER THE SECURITY ACT.

        (b)    Taxes. Participator acknowledges that it is solely responsible to pay any taxes due
any government associated with the gains generated pursuant to this Agreement. Participator
agrees to provide Company with a W-8BEN indicating that it accepts full responsibility for any
taxes due the United States of America.

         (c)     Severability; Validity; Parties in Interest. The provisions of this Agreement shall
be severable in the event that any of the provisions hereof (including any provision within a
single section, paragraph or sentence) are held by a court of competent jurisdiction to be invalid,
void or otherwise unenforceable, and the remaining provisions shall remain enforceable to the
fullest extent permitted by Law. Furthermore, to the fullest extent possible, the provisions of this
Agreement (including, without limitations, each portion of this Agreement containing any
provision held to be invalid, void or otherwise unenforceable that is not itself invalid, void or
unenforceable) shall be construed so as to give effect to the intent manifested by the provision
held invalid, illegal or unenforceable.


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        (d)     Amendments and Waivers. This Agreement may not be amended or modified in
any manner nor may any of its provisions be waived except by written amendment executed by
the Parties. A waiver, modification or amendment by a Party shall only be effective if (i) it is in
writing and signed by the Parties, (ii) it specifically refers to this Agreement and (iii) it
specifically states that the Party, as the case may be, is waiving, modifying or amending its rights
hereunder. Any such amendment, modification or waiver shall be effective only in the specific
instance and for the specific purpose for which it was given.

       (e)     Headings. The headings contained in this Agreement are for reference purposes
only and shall not affect in any way the meaning or interpretation of this Agreement.

        (f)     Notices. All notices, claims, demands, and other communications hereunder
shall be in writing and shall be deemed given upon: (i) confirmed delivery by a standard
overnight carrier or when delivered by hand, or (ii) the expiration of 5 Business Days after the
day when mailed by registered or certified mail (postage prepaid, return receipt requested),
addressed to the respective parties to the addresses first mentioned above (or such other address
for a Party as shall be specified by like notice).

       (g)     Certain Rules of Construction.

                      (i)   Unless the context otherwise requires, singular nouns and
       pronouns, when used herein, shall be deemed to include the plural of such noun or
       pronoun and pronouns of one gender shall be deemed to include the equivalent pronoun
       of the other gender.

                     (ii)     When used herein, the words “hereof,” “herein” and “hereunder”
       and words of similar import shall refer to this Agreement as a whole and not to any
       particular provision of this Agreement.

                    (iii)     When used herein, the terms “include,” “includes,” and
       “including” are not limiting.

                    (iv)      Unless the context requires otherwise, derivative forms of any term
       defined herein shall have a comparable meaning to that of such term.

        (h)     Survival of Representations, Warranties, and Covenants. All representations and
warranties made by any of the Parties in this Agreement and in any instrument delivered
pursuant to this Agreement shall survive the date of this Agreement and the consummation of the
contemplated transactions; provided, however, that the covenants contained in this Agreement
and in any instrument delivered pursuant to this Agreement shall survive the date of this
Agreement and the consummation of the contemplated transactions, in accordance with their
terms.

      (i)     Entire Agreement; Assignment. This Agreement: (i) constitutes the entire
agreement and supersedes all other prior agreements and understandings, both written and oral,
between the Parties with respect to the subject matter hereof, and (ii) shall not be assigned by

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operation of law or otherwise without the prior written consent of each of the Company and
Participator.

         (j)   Counterparts; Effectiveness. This Agreement may be executed in one or more
counterparts, each of which will be deemed to be an original copy of this Agreement and all of
which, when taken together, will be deemed to constitute one and the same agreement. The
exchange of copies of this Agreement and of signature pages by facsimile or electronic
transmission shall constitute effective execution and delivery of this Agreement as to the parties
and may be used in lieu of the original Agreement for all purposes. Signatures of the Parties
transmitted by facsimile or electronic transmission shall be deemed to be their original signatures
for all purposes.

        (k)     Governing Law. This Agreement shall be governed by and construed in
accordance with the laws of the State of Delaware, without regard to the choice or conflict of
laws principles thereof or of any other jurisdiction. The Parties hereby agree that all disputes
arising out of or relating to this Agreement shall be resolved in the state or federal courts located
in the State of New York, County of Erie, and the Parties hereby consent to the jurisdiction of
such courts in connection with any action or proceeding initiated concerning or arising from this
Agreement.

        (l)    No Third-Party Beneficiaries. This Agreement is for the benefit of, and may be
enforced only by the Company and Participator, and each of their respective successors and
permitted transferees and assignees, and is not for the benefit of, and may not be enforced by,
any third party.

        (m)     Further Assurances. From time to time, as and when requested by any Party, the
other Party shall execute and deliver, or cause to be executed and delivered, all such documents
and instruments and shall take, or cause to be taken, all such further or other actions (subject to
any limitations set forth in this Agreement), as such other Party may reasonably deem necessary
or desirable to consummate the transactions contemplated by this Agreement and/or effectuate
the intent of this Agreement and Company’s ownership and responsibility for the Portfolio.

     (n)   WAIVER OF JURY TRIAL. EACH PARTY HEREBY KNOWINGLY,
VOLUNTARILY AND INTENTIONALLY WAIVES (TO THE EXTENT PERMITTED BY
APPLICABLE LAW) ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY OF ANY
DISPUTE ARISING UNDER OR RELATING TO THIS AGREEMENT.

        (o)     Successors and Assigns. This Agreement shall be binding upon, and shall inure
to the benefit of, the Parties and each of their respective legal representatives, successors and
permitted assigns, including any trustee appointed under chapters 11 or 7 of the Bankruptcy
Code and any responsible officer or examiner appointed for any of the Parties.



                           [Signature page to Participation Agreement]



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        IN WITNESS WHEREOF, the parties have executed this Participation Agreement, to be
effective as of the date first set forth above.


COMPANY:

HYLAN DEBT FUND, LLC - PORTFOLIO SERIES 110


By:      ____________________________

Name: Andrew J. Shaevel

Title:    as CEO of Hylan Asset Management, LLC
         the Manager of Hylan Debt Fund, LLC – Portfolio Series 110




PARTICIPATOR:

LGN FINANCIAL LLC




By:      ____________________________

Name: Larry Gitman

Title:   Managing Director




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                                         EXHIBIT A

                                           Portfolio



Number of Accounts:          TBD (to be updated upon Closing)

Face Value of Accounts:      $13,400,000.00

Originator:                  Mixed Lender - BMG Warehoused Debt

Purchase Rate:               1.493%

Purchase Price:              $200,000.00



Accounts were previously acquired from Ashton Asset Management, Inc. who sourced the
Accounts from Graywave Capital, LLC and JR Holdings, LLC, each at the time were affiliates of
Joel Tucker (“Tucker Entities”). Joel Tucker was the principal at E-Data the origination
servicing company for the various lenders. The loans were originated as online payday loans.
Consumers submitted an application or indication of interest (“Lead”) via the internet. E-Data
acquired the lead, conducted limited due diligence and underwriting and then originated one or
more loans to the debtor via one or more lenders. Mr. Tucker represented that he acquired the
loans upon charge-off from the various lenders, inventoried the loans and remarketed the
distressed debt as BMG Warehoused Debt. Manager, directly or indirectly via its affiliates,
acquired a large volume of these loans, subsequently bundled the loans by Social Security
Number (by debtor) and then sold the loans to Company and other buyers. On average, each
debtor has 3 to 4 loans. Some loans in each debtor bundle may have never been collected prior
to being sold to Company, while other loans may have been previously placed for collection by
Manager or an affiliate. If the accounts had been placed for collection prior to sale to Company,
all payment plans that may have been established now accrue to the benefit of Company.




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                                    HYLAN DEBT FUND
                                   BANK INFORMATION

A. ACH Instructions:

   Beneficiary:             Hylan Debt Fund, LLC
                            5477 Main St
                            Williamsville, NY 14221

   Account Name:            Hylan Debt Fund, LLC

   Bank Name:               Bank of America

   ABA Routing:             021 000 322

   Account Number:                     5836


B. Fed Wire Instructions:

   Beneficiary:                    Hylan Debt Fund, LLC
                            5477 Main St
                            Williamsville, NY 14221

   Account Name:            Hylan Debt Fund, LLC

   Bank Name:               Bank of America

   ABA Routing:             026 009 593

   Account Number:                     5836

   SWIFT CODE:              BOFAUS3N

   Bank Address:            Bank of America
                            100 W. 33rd Street

                            New York, NY 10001




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C. SWIFT Wire Instructions:

      Beneficiary:            Hylan Debt Fund, LLC
                              5477 Main St
                              Williamsville, NY 14221

      Account Name:           Hylan Debt Fund, LLC

      Bank Name:              Bank of America

      Account Number:                    5836

      SWIFT CODE:             BOFAUS3N

      Bank Address:           Bank of America
                              100 W. 33rd Street
                              New York, NY 10001




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From:                              Andrew J. Shaevel <andrew.shaevel@bobalew.com>
Sent:                              Sunday, March 13, 2016 5:58 PM
To:                                Hirsh Mohindra ; Hirsh Mohindra
Cc:                                Jon's Gmail Account
Subject:                           Placement Agreement Template
Attachments:                       (Alternate Body); image001.jpg; Collection Agreement Input.xlsx; Collection Agreement -
                                   unsigned.docx


 This is the agreement and the excel input sheet to merge the input with word doc. You can also just edit the word docs.
The parties will need to be changed. Either Jon or I will send you the name of the client –FSB (I think). Dave’s Info goes
in the excel sheet Andy Andrew J. Shaevel Chief Executive Officer IMG [288]Bobalew Ventures 5477 Main Street
Amherst, New York 14221 (716) 580-3133 - Office (716) 860-1125 - Mobile (716) 580-3137 - Fax
 website [http://www.bobalew.com/] CONFIDENTIALITY NOTICE: This communication and any attachments are
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you have received this communication in error, please contact the sender immediately and delete the original message.
Thank you.




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                                 COLLECTION AGREEMENT

       This Collection Agreement (“Agreement”) is made and entered into as of this day of ,
by and between a , located at and acting as an independent contractor (hereinafter referred to as
“Agency”), , an individual with an address at (the “Guarantor”) and Hylan Asset Management,
LLC, a New York limited liability company, located at 5477 Main Street, Amherst, NY 14221
(hereinafter referred to as “HAM”, both of whom may be collectively referred to throughout this
Agreement as “Parties,” or individually as “Party”).

        WHERAS, HAM is the owner of or the authorized manager of certain consumer debt
obligations and distressed assets (“Accounts”); and

     WHEREAS, Agency is in the business of debt collection and desires to contract with
HAM to collect upon certain Accounts owned or managed by HAM; and

        WHEREAS, in connection with the placement of the Accounts with the Agency for
collection, the Parties desire to set forth their respective duties and obligations hereunder;

        NOW, THEREFORE, the Parties mutually agree to the following promises, the
receipt and sufficiency of consideration for which is hereby acknowledged:

1.     Placement and Collection of Accounts.

       a.     Agency agrees to accept upon the terms and conditions herein, any and all
unpaid Accounts HAM places hereunder for collections with Agency, the amounts of which
and form of which that shall be determined in HAM’s sole discretion, and Agency shall
promptly undertake through commercially reasonable and lawful means, the collection of
Accounts referred by HAM.

        b.     The placement of Accounts with Agency (a “Placement” or “Placements”) shall
be in HAM’s sole discretion, and nothing in this Agreement shall be interpreted as requiring
HAM to place Accounts to Agency for collection. In order to refer Accounts to Agency, HAM
shall send Agency a placement email and data file. The terms of each Placement shall
incorporate the terms described within the transmittal email offering the Placement (each, a
“Placement Email”) with the terms and conditions of this Agreement. In the event of any
inconsistency between the terms and conditions of the Placement Email and the terms and
conditions of this Agreement, this Agreement shall control. Agency shall accept or decline
each Placement within forty eight (48) hours from the time of the delivery of the Placement
Email by replying to the sender of the Placement Email. If the Agency does not reply to the
sender at HAM that Agency accepts the Placement with the forty eight (48) hour time period,
the Placement shall be deemed to be accepted.




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        c.       It is hereby agreed and acknowledged that there is no transfer of title to the
Accounts upon a Placement to the Agency but merely assigns from HAM to the Agency the
right to collect upon the underlying debt attributed to the Accounts.

2.     Payment and Fees.

        a.     Percentage Fee. The Agency shall be paid a contingency fee that shall be based
off a percentage of gross revenue from collections collected upon for each Placement of
Accounts (the “Percentage Fee”). HAM shall set the Agency’s Percentage Fee for each
Placement in the Placement Email.

         b.      Remitting of Collection Proceeds. Each Monday, the Agency shall report gross
revenue from collections and other information as may be reasonably requested by HAM for
each Account collected in the prior calendar week. Agency shall remit to HAM each Thursday
for all collections made on HAM’s Accounts during the immediately prior calendar week, all
gross revenue from collections less the Percentage Fee (“Remits”). Remits may be made via
ACH or wire transfer to the bank account of HAM or as otherwise directed by HAM. If the
Agency utilizes ACH to remit funds to HAM, the Agency agrees and acknowledges that it shall
set up the ACH transfer so that that the Remit to be deposited into HAM’s bank account
becomes available on that Thursday. If the Agency utilizes a wire transfer, the Agency agrees
to add a $20 wire transfer processing fee to the total Remit amount.

        c.     No Additional Fees and/or Interest. Agency agrees and acknowledges that it
shall not add any additional collection fees and/or interest to the Accounts unless previously
agreed to by HAM in writing.

         d.      Direct Payments. Agency agrees to immediately notify HAM when it learns that
a debtor of any Account has paid another party. If HAM learns of any payment made to a third
party for an Account placed with Agency, HAM agrees to immediately notify Agency. If the
payment was received by the third party during the placement period, HAM agrees to pay
Agency it’s Percentage Fee based upon the amount received by HAM within fifteen (15) days
of its receipt of the payment by the third party. Agency shall not offset any pending direct
payments to be made under this subsection (d) against any weekly Remits.

       e.      Compromise Settlements. HAM hereby grants Agency the authority to settle all
Accounts in the Agency’s sole discretion at an amount not to be less than 80% of the
outstanding balance. HAM may provide Agency with greater settlement authority for specific
Placements in the Placement Email. Agency may not send blanket settlement letters on
Accounts placed by HAM.

        f.    Cancellation of Accounts. HAM reserves the right to recall or cancel any Account
at any time. Agency reserves the right to maintain all actively paying Accounts. An Account
shall be deemed “actively paying” if payment was received in any two (2) consecutive months
during placement or if fewer than sixty (60) days have passed since the date of last payment. As a




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practical matter, Agency may, from time to time and in its sole discretion, effect a cancellation of
the Account and return the Account prior to the sixty (60) day deadline.

3.      Guaranty. The Guarantor does hereby unconditionally and irrevocably guaranty the
obligations of Agency hereunder, including, but not limited to, the full, prompt, complete and
faithful payment by the Agency of all Remits and any other amounts due to HAM by Agency
now or hereafter becoming due (collectively, the “Obligations”). The Guarantor hereby
promises, in the event the Agency fails to make payment of any of the Obligations when due, to
promptly make such payment to the HAM. Obligations shall include each cost and expense
(including, but not limited to, reasonable attorneys’ fees and disbursements) hereafter incurred by
HAM in endeavoring to enforce any obligation of Agency or Guarantor pursuant to this
Agreement or preserve or exercise any right or remedy of HAM pursuant to this Agreement or
arising or accruing as a result of this Agreement. The guaranty contained herein shall not be
limited to any particular period of time but rather shall continue until all of the Obligations have
been fully and completely performed by the Agency or otherwise discharged and released by
HAM, and the Guarantor shall not be released from any duty, obligation, or liability hereunder so
long as there is any claim of HAM against the Agency arising out of the Obligations which has
not been performed, paid, settled or discharged in full. Further, the Guarantor shall not be
released, nor shall the Obligation hereunder be in any way diminished by: (a) any extension of
time for payment granted to the Agency by HAM, (b) any action taken by HAM against the
Agency in the exercise of any right it may have against Agency, (c) any delay, failure or omission
on the part of HAM to enforce any such right, (d) any bankruptcy, insolvency, reorganization,
arrangements, assignment for the benefit of creditors, receivership or trusteeship affecting the
Agency, or (e) any act or event which might, but for this provision of this instrument be deemed a
legal or equitable discharge of a surety. The Guarantor hereby waives: (i) notice of acceptance
and reliance upon this Guaranty by HAM, (ii) notice of any and all extensions, modifications
and/or waivers in the obligations of the Agency with respect to the Agreement, and (iii) notice of
any default by or on the part of the Agency under the Agreement.

4.      Relationship of the Parties. The parties intend and Agency acknowledges that Agency,
in performing the services hereunder, is an independent contractor, and not an employee of HAM
or any of HAM’s subsidiaries or affiliates. Nothing herein shall be construed to create an
employer-employee relationship between the HAM and Agency, and Agency will not represent to
be or hold themselves out as an employee of HAM. Accordingly, Agency shall pay all costs and
expenses of Agency’s operations and shall be solely responsible for all taxes, social security
contributions, worker’s compensation premiums and any similar or different taxes and payments
which may be applicable to Agency or any of its employees. Agency and its employees shall not
be eligible for any of HAM’s employee benefit programs, and Agency shall have no claim
against HAM for sick leave, retirement benefits, social security, worker’s compensation,
disability or unemployment benefits or any other similar benefits. HAM shall not be required to
withhold any of such taxes or payments from sums to be paid hereunder to Agency, nor be liable
for the payment of same to any federal, state or local government or agency. HAM shall not be
liable for any injury or damage to any person or property whatsoever by reason of, or in any
manner growing out of, any of Agency’s, or its agents and/or employees, acts or failure to act




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hereunder. Agency shall indemnify and hold HAM harmless from and against any and all
expenses which HAM may incur that are contrary to the express provisions of this Section.
Agency shall not, by letterhead, advertising or otherwise, create the impression that Agency is an
employee or agent of the HAM. At no time during the term or after the Agreement’s termination
shall Agency challenge or put at issue either the validity or the ownership of HAM’s patents,
trademarks, trade names and other intellectual property. Should Agency become aware of any
facts which may represent a potential infringement of any patent, trademark, trade name or other
proprietary right of the HAM, it shall immediately inform HAM and take such action as HAM
may reasonably request to protect such rights, including assistance to HAM in any legal action
brought by HAM. Agency agrees to permit HAM’s authorized personnel or its agents to enter
Agency’s premises at all reasonable times, with or without advance notice, for the purpose of
determining whether Agency is properly carrying out its duties under this Agreement.

5.     Agency Representations and Warranties.

        a.      Organization; Authority. Agency has all requisite power and authority (i) to
execute and deliver this Agreement and (ii) to consummate the transactions contemplated
hereby. The execution and delivery of this Agreement by Agency, the performance by Agency
of its obligations hereunder and the consummation by Agency of the transactions contemplated
herein have been duly authorized pursuant to and in accordance with all laws governing and/or
applicable to Agency and no other proceedings on the part of Agency are necessary to
authorize such execution, delivery and performance. This Agreement has been duly and validly
executed and delivered by Agency and constitutes the valid and binding obligation of Agency ,
enforceable against Agency in accordance with its terms. Agency is validly existing and in
good standing under the laws of each respective jurisdiction of formation and has all requisite
company power and authority to own, lease, operate or otherwise hold each of its respective
assets and to carry on each of its respective businesses as now being conducted, including,
without limitation, holding all necessary licenses and permits necessary to collect upon the
Accounts in each jurisdiction where the responsible debtor of such Account resides.

         b.     Association Memberships and Ethics. Agency is a member of the American
Collectors Association and shall comply strictly with the Code of Ethics adopted by this
organization, as well as with the Federal Fair Debt Collection Practices Act (15 U.S.C. §§ 1692
et seq., as amended), the guidelines provided by the Federal Trade Commission and any and all
individual state law requirements that are in existence and applicable at the time Agency
attempts to collect the Accounts.

        c.      Compliance. Agency currently does not operate in a manner that (i) is illegal
under any laws, decrees, rules or regulations in any jurisdiction in which the Agency does
business, or (ii) would have the effect of causing HAM to be in violation of any laws, decrees,
rules or regulations in effect in any such jurisdiction, including, without limitation, the United
States Fair Debt Collections Practices Act, Telephone Consumer Protection Act or any State
fair debt collection laws.




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        d.     Litigation. There is no federal, state, or other governmental or regulatory
proceedings, litigation, claims or arbitration against Agency (“Proceedings”), and the Agency
shall notify HAM of any Proceedings prior to the acceptance of any Placement.

6.     Agency Covenants.

         a.      Legal Action. Agency will not threaten or initiate any form of legal action in the
name of or on behalf of HAM on any Account without the prior written consent of HAM.
Agency will advance all costs of legal action including attorneys’ fees and court costs. HAM
agrees to reimburse Agency for such costs exclusively from funds collected as a result of such
legal action. HAM shall have no obligation to reimburse Agency for any such costs to the extent
that such costs exceed the net amount of funds collected as a result of such legal action after
deduction of other amounts paid on any Account, including fees of Agency. Agency shall
provide HAM with an itemized invoice of all legal costs. In no event shall Agency initiate
criminal proceedings on behalf of HAM. In any case involving the institution of civil
proceedings, the Agency shall immediately notify HAM in the event that the debtor answers the
complaint with an affirmative defense or counterclaim, and shall immediately deliver a copy of
said affirmative defense or counterclaim to HAM. In the event of said affirmative defense or
counterclaim, HAM shall have the right but not the obligation to direct and control any further
litigation with respect to said claim and to substitute attorneys or to provide additional legal
counsel with respect thereto. Removal of said Accounts from Agency shall not constitute
grounds for compensation nor shall additional compensation be paid in the event HAM deems it
proper for the Agency to continue with such action unless it is specifically agreed otherwise in
writing.

        b.      Compliant Activities. Agency agrees that it will neither undertake, nor cause,
nor permit to be undertaken, any activity which either (i) is illegal under any laws, decrees,
rules or regulations in any jurisdiction in which the Agency does business, or (ii) would have
the effect of causing HAM to be in violation of any laws, decrees, rules or regulations in effect
in any such jurisdiction, including, without limitation, the United States Fair Debt Collections
Practices Act, Telephone Consumer Protection Act or any State fair debt collection laws.

        c.      Audit Rights. HAM reserves the rights to request backup documentation or audit
the books and records of the Agency with respect to collection activities on the Accounts.
Agency further agrees and acknowledges HAM has both a tremendous interest in making sure
that Agency does not violate any laws or regulations in the collection of the Accounts and must
have the ability to review the books and records of the Agency to verify the accuracy of the
payments made in Section 2 above. Therefore, Agency shall allow HAM or any representative
or agent thereof upon 24 hours notice and during regular business hours to review and collect
copies of any records pertaining to the Accounts, collection activity or business operations and
practices of Agency. Upon any non-payment or non-compliance with reporting requirements
under this Agreement that result in the auditing of books and records of Agency by HAM, the
Agency shall be responsible for HAM’s reasonable costs and fees associated with such audits
and HAM shall have the right to appoint its own representatives to complete the audits.




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        d.      Reporting to Consumer Reporting Agencies. Agency will not report or threaten
to report any Account to a consumer reporting agency or credit bureau without the express
prior written consent of HAM.

        e.       Changes. Agency agrees to promptly notify HAM within five (5) business days
in writing of (i) any change in its principal place of business, chief executive officer or
jurisdiction of organization, and (ii) the earlier of the notification of or commencement of any
federal, state, or other governmental or regulatory proceeding, litigation or arbitration against
Agency or any of Agency’s affiliates, subsidiaries, officers, directors, members or managers.

7.     Confidentiality, Non-Disparagement and Non-Solicitation.

        a.      Confidentiality. Agency shall keep confidential and not disclose to any person or
entity (except attorneys, employees, officers, partners or directors of Agency who have a need to
know such information) any customer Account information which Agency receives from HAM
relating to delinquent Accounts referred to Agency by HAM. Agency agrees to use confidential
customer Account information solely for the purposes of tracing, collecting and initiating legal
action under this Agreement. Disclosure of Account information or collection activity may be
made if required by law or pursuant to a request of a governmental agency, in which case
Agency shall immediately notify HAM concerning the reasons for and the nature of the
proposed disclosure so HAM may seek an appropriate protective order or take such other action
if deemed necessary. In addition, each Party shall comply, to the extent applicable, with the
requirements of the implementing regulations of Title V of the Gramm-Leach Bliley Act of
1999, specifically including, 16 Code of Federal Regulations, Chapter I, Subchapter C, Part
313.11 and 313.13.

        b.       Non-Disparagement. During the term and following any termination of this
Agreement, the Agency shall not directly or indirectly, in any capacity or manner, make,
express, transmit, speak, write, verbalize or otherwise communicate in any way (or cause,
further, assist, solicit, encourage, support or participate in any of the foregoing), any remark,
comment, message, information, declaration, communication or other statement of any kind,
whether verbal, in writing, electronically transferred or otherwise, that might reasonably be
construed to be derogatory or critical of, or negative toward, HAM or any of its managers,
members, officers, affiliates, subsidiaries, employees, agents or representatives.

        c.      Non-Solicitation. Commencing on the date of this Agreement and continuing for
a period of 180 days after its termination, expiration or cancellation, Agency may not, directly
or indirectly at any time, hire or solicit to hire or assist in soliciting or hiring, any employee or
consultant working for HAM or any of its affiliates, or cause such employee or consultant to
leave the services of HAM or assist such employee or consultant to take up employment with
HAM or HAM’s competitors or other companies. Further, commencing on the date of this
Agreement and continuing for a period of three (3) years, Agency may not, directly or
indirectly, solicit, attempt to solicit or assist in the solicitation of any collections related




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business from any other client engaged in collections activity with HAM or holding any
Account given to Agency by HAM or cause, induce or encourage any material customer or
supplier of HAM or any other person who has a material business relationship with HAM, to
terminate or modify any such actual or prospective relationship. In the event that any or all of
this covenant shall be determined by a court of competent jurisdiction to be unenforceable by
reason of its geographic or temporal restrictions being too great or by reason that the range of
activities are too great or for any other reason, this clause shall be interpreted to extend over the
maximum geographic area, period of time, range of activities or other restrictions to which it may
be enforceable. This section shall survive the termination of this Agreement.

8.      Indemnification. Agency agrees to indemnify and hold HAM (including its officers,
managers, employees, members, and agents) harmless from and against any claims, actions, suits
or other actual or threatened proceedings, and all losses, judgments, damages, expenses or other
costs (including all fees and disbursements of counsel) incurred or suffered by HAM by reason of
the misconduct or violation of any applicable law, rule or regulation by Agency (or its employees,
representatives, agents or successors) in connection with the services, collection or enforcement
of the Accounts. Agency additionally agrees to indemnify and hold HAM (including its officers,
managers, employees, members, and agents) harmless from and against any claims, actions, suits
or other actual or threatened proceedings, and all losses, judgments, damages, expenses or other
costs (including all fees and disbursements of counsel) incurred or suffered by HAM as the result
of Agency’s breach of this Agreement, including, without limitation any representation, warranty
or covenant contained herein or entered into pursuant to the terms and conditions of any
Placement through the acceptance of a Placement Email. At its option, HAM shall have the right
to require Agency to assume the defense of any claims, actions, suits or other actual or threatened
proceedings and to directly pay for all losses, judgments, damages, expenses or other costs
(including all fees and disbursements of counsel) which may be imposed.

9.     Term and Termination.

       a.       The term of this Agreement shall commence on the date hereof and shall
continue until terminated in accordance with Section 9(b) below.

      b.     This Agreement may be terminated: (i) upon the mutual written consent of
Agency and HAM, (ii) by HAM immediately upon notice to the Agency via email to , or (iii)
by Agency upon 15 days prior written notice to HAM.

        c.       Upon termination for any reason: (i) all Accounts shall be returned to HAM
immediately and within no more than 24 hours after termination, except that Agency may
retain all actively paying Accounts, as well as those Accounts which have been referred to legal
counsel, (ii) Agency shall cease and desist from all collection activity immediately unless
directed otherwise by HAM, (iii) Agency shall continue to make all payments in accordance
with Section 2 above. Further following termination for any reason, HAM may request and
Agency hereby agrees and acknowledges is shall deliver to HAM within 48 hours of request,
an export file detaining the current balance for each Account as of the last day of collection.




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10.     Miscellaneous.

        a.      Remedies. No remedy by the terms of this Agreement conferred upon or
reserved to any Party is intended to be exclusive of any other remedy, but each and every such
remedy shall be cumulative and in addition to every other remedy given under this Agreement
or existing at Law (including, without limitation, the right to such equitable relief by way of
injunction), or by statute on or after the date of this Agreement. Notwithstanding the foregoing,
Agency agrees and acknowledges that the failure to comply with the terms of Sections 7 and
9(c) will cause irreparable harm to HAM, for which damages may not be adequate
compensation and acknowledges that HAM shall be entitled to equitable relief including a
temporary restraining order and an injunction, in order to stop any breach, threatened breach or
continued breach of Agency’s obligations herein. Agency further agrees to notify HAM
immediately of any breach of its obligations under this Agreement which comes to Agency’s
attention.

        b.       Severability; Validity; Parties in Interest. The provisions of this Agreement
shall be severable in the event that any of the provisions hereof (including any provision within
a single section, paragraph or sentence) are held by a court of competent jurisdiction to be
invalid, void or otherwise unenforceable, and the remaining provisions shall remain
enforceable to the fullest extent permitted by law. Furthermore, to the fullest extent possible,
the provisions of this Agreement (including, without limitations, each portion of this
Agreement containing any provision held to be invalid, void or otherwise unenforceable that is
not itself invalid, void or unenforceable) shall be construed so as to give effect to the intent
manifested by the provision held invalid, illegal or unenforceable.

        c.      Governing Law; Venue. This Agreement shall be governed by and construed in
accordance with the Laws of the State of New York, without regard to the choice or conflict of
laws principles thereof or of any other jurisdiction. The Parties hereby agree that all disputes
arising out of or relating to this Agreement shall be resolved in the state or federal courts
located in the State of New York, County of Erie, and the Parties hereby consent to the
jurisdiction of such courts in connection with any action or proceeding initiated concerning or
arising from this Agreement.

        d.     Entire Agreement. This Agreement contains the entire Agreement between the
parties. Any change to this Agreement shall require a written document signed by HAM and
Agency and the proposed amendment or modification shall become effective on the date
specified in such notice.

       e.      Notices. All notices, claims, demands, and other communications hereunder,
except as where indicated in this Agreement to be delivered via electronic mail, shall be in
writing and shall be deemed given upon (i) confirmed delivery by a standard overnight carrier
or when delivered by hand, or (ii) the expiration of 5 Business Days after the day when mailed
by registered or certified mail (postage prepaid, return receipt requested), addressed to the




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respective parties at the addresses first mentioned above (or such other address for a Party as
shall be specified by like notice).

       f.      Survival of Representations, Warranties, and Covenants. All representations,
warranties and covenants made by any of the Parties in this Agreement and in any instrument
delivered pursuant to this Agreement shall survive the date of this Agreement, each Placement
made hereunder and the consummation of the contemplated transactions.

       g.      Amendment. This Agreement may not be amended or modified except by an
instrument in writing signed by each of HAM and Agency.

        h.      Counterparts; Effectiveness. This Agreement may be executed in one or more
counterparts, each of which will be deemed to be an original copy of this Agreement and all of
which, when taken together, will be deemed to constitute one and the same agreement. The
exchange of copies of this Agreement and of signature pages by facsimile or electronic
transmission shall constitute effective execution and delivery of this Agreement as to the
Parties and may be used in lieu of the original Agreement for all purposes. Signatures of the
Parties transmitted by facsimile or electronic transmission shall be deemed to be their original
signatures for all purposes.

     i.    WAIVER OF JURY TRIAL. EACH PARTY HEREBY KNOWINGLY,
VOLUNTARILY AND INTENTIONALLY WAIVES (TO THE EXTENT PERMITTED BY
APPLICABLE LAW) ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY OF ANY
DISPUTE ARISING UNDER OR RELATING TO THIS AGREEMENT.

        j.     No Third-Party Beneficiaries. This Agreement is for the benefit of, and may be
enforced only by HAM and Agency, and each of their respective successors and permitted
transferees and assignees, and is not for the benefit of, and may not be enforced by, any third
party.

        k.      Attorney’s Fees. If any action at law or in equity is brought to enforce or
interpret the terms of this Agreement, then the prevailing party shall be entitled to reasonable
attorney’s fees, costs, and necessary disbursements in addition to any other relief to which it
may be entitled.

        l.      Successors and Assigns. This Agreement shall be binding upon, and shall inure
to the benefit of, the Parties and each of their respective legal representatives, successors and
permitted assigns, including any trustee appointed under chapters 11 or 7 of the Bankruptcy
Code and any responsible officer or examiner appointed for any of the Parties.

                    [Remainder of page left blank; Signature page follows]




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                          [Signature page to Collections Agreement]

       IN WITNESS WHEREOF the parties have executed this Agreement on the date first
written above.

HAM:                                           AGENCY:

Hylan Asset Management, LLC

                                                By: ___________________________________
By: _____________________________
                                                Name: _________________________________
Name: Andrew J. Shaevel
                                                Title: _________________________________
Title: CEO



                                               GUARANTOR:



                                               ____________________________

                                               Name:




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From:                              Ryan Zawistowski (Hylan) <ryan@hylanasset.com>
Sent:                              Wednesday, July 9, 2014 4:57 PM
To:                                Hirsh Mohindra
Cc:                                Andrew J. Shaevel (Hylan) ; Jon's Gmail Account ; David Carr
Subject:                           Possible Double Sold Accounts
Attachments:                       (Alternate Body); image001.jpg


 Good Afternoon Hirsh- Please see the below complaint we received from an agency we have placed a small sample of
our QKD file with. It appears that a significant amount of accounts are claiming that they have already been called on by
multiple different agencies. “Just want you to know we started on this new file today and are a little disappointed. We
have issued almost 90 files today and we have been getting the same story about" we are the second or third company
calling trying to collect on these accounts". We have encountered at least 6-8 files that must have been double sold to
more than Hyland. I'm assuming it wasn't Hyland that double sold the accounts so someone prior to you did. I have a
handful of accounts that you can look into to verify the fact that they have been paid to another agency. Acct:
             Ashley Campbell Acct:               April Floyd Acct:             Rebecca McDonald Acct:                Leisa
Payne” Also, they are claiming that over half the accounts they called on today (roughly 50 accounts) are being collected
on by an agency called Delaware Solutions. Please look into this ASAP. This agency is going to pull this file off the floor if
we can’t address this ASAP. Thanks, Ryan
  Ryan Zawistowski Operations Manager IMG [206]5477 Main Street Amherst, NY 14221 (716) 580-3135 ext: 107 -
Office (855) 275-3651 - Toll-Free Hot Line (716) 580-3137 - Fax www.hylanasset.com [http://www.hylanasset.com/]
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intended recipient. If you have received this transmission in error, any disclosure, copying, distribution or the taking of
any action in reliance upon this communication is strictly prohibited. If you have received this communication in error,
please contact the sender immediately and delete the original message. Thank you. LEGAL DISCLOSURE: Hylan Asset
Management, LLC (“Hylan”) is not offering nor selling securities of any kind. Hylan is solely an advisory and portfolio
management services firm that assists clients to acquire, liquidate and dispose of pools of distressed consumer
receivables ("portfolios"). Investing in distressed consumer receivables is by definition an alternative investment. There
is no way to guarantee a positive return on each and every portfolio acquired, and as such, Hylan recommends that
clients seriously consider limiting their investment in this sector to 5% or less of their net worth. Hylan only offers its
services pursuant to the terms of a Master Servicing Agreement. Prospective clients must be an accredited investor and
must acknowledge that there are inherent risks associated with acquiring portfolios of distressed consumer receivables.
Hylan does not and cannot guarantee any specific return on any investment.




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From:                              Andrew J. Shaevel <andrew.shaevel@bobalew.com>
Sent:                              Wednesday, December 30, 2015 8:43 AM
To:                                Jon's Gmail Account
Cc:                                Mohindra Hirsh ; Mohindra Hirsh ; Dennis Klemming ; Ryan Zawistowski (Hylan) ;
                                   Lovelace Christian
Subject:                           Re: Draft of PSA


 Dennis -
Thanks for the chat a few minutes ago and I better understand your objective, which we have no objection to helping fulfill:
- one closing with two payments; - elimination of the two tranche concept - inclusion of the Brazilian law as a courtesy
with conflicts leaning toward Delaware law.
We acknowledge that this is a trust transaction and that our affiliates are servicing the paper so in effect we have control
of the debt and the cash.
We further understand that the Brazilian countersigner will be out as of this afternoon for the New Year so today is critical.

I will get it fixed. No problem.
Andy

Andrew J. Shaevel, CEO
Bobalew Ventures
5477 Main Street
Amherst, New York 14221 USA [x-apple-data-detectors://3/0]
(716) 580-3133 [tel:(716)%20580-3133] - Office
(716) 860-1125 [tel:(716)%20860-1125] - Mobile
(716) 580-3137 [tel:(716)%20580-3137] - Fax
andrew.shaevel - Skype

Sent from my iPhone, please forgive any spelling mistakes or typos.

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intended recipient. If you have received this transmission in error, any disclosure, copying, distribution or the taking of any
action in reliance upon this communication is strictly prohibited. If you have received this communication in error, please
contact the sender immediately and delete the original message. Thank you.
On Dec 30, 2015, at 8:19 AM, Dennis Klemming <dennis@prudentgroup.us [mailto:dennis@prudentgroup.us] > wrote:

It is a very different document that changes the flow of whole business transaction...you are always in charge of every
step of the way of this process as we have zero knowledge about this industry except for you and Jon. This means that
you will always be in full control disregarding what any paper document will say. This is now two transactions which we
wanted to avoid.

On 12/30/15 8:03 AM, Andrew J. Shaevel wrote:
 Dennis -
Everyone here is still sleeping. I thought most were cleanup edits. What materially changed? I will then get Christian on
the phone to fix as necessary. Accept and then mark it up if easier.


Andy
Andrew J. Shaevel, CEO Bobalew Ventures 5477 Main Street Amherst, New York 14221 USA
(716) 580-3133 - Office
(716) 860-1125 - Mobile
(716) 580-3137 - Fax
andrew.shaevel - Skype

Sent from my iPad, please forgive any spelling mistakes or typos.


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action in reliance upon this communication is strictly prohibited. If you have received this communication in error, please
contact the sender immediately and delete the original message. Thank you.

On Dec 30, 2015, at 7:52 AM, Dennis Klemming <dennis@prudentgroup.us> wrote:

Andrew,

This rewritten contract is very different than we discussed and is missing the point. How early can I call you?

Dennis

On 12/30/15 7:43 AM, Andrew J. Shaevel wrote:
Dennis -
Attached please find a marked copy of the PSA representing our counsel's edits. In addition, he has drafted a termination
agreement for the prior Participation Agreement. Please review and let me know if you are ok to proceed to execution.


Andy
Andrew J. Shaevel, CEO Bobalew Ventures 5477 Main Street Amherst, New York 14221 USA
(716) 580-3133 - Office
(716) 860-1125 - Mobile
(716) 580-3137 - Fax
andrew.shaevel - Skype

Sent from my iPad, please forgive any spelling mistakes or typos.
CONFIDENTIALITY NOTICE: This communication and any attachments are confidential, and are only for the use of the
intended recipient. If you have received this transmission in error, any disclosure, copying, distribution or the taking of any
action in reliance upon this communication is strictly prohibited. If you have received this communication in error, please
contact the sender immediately and delete the original message. Thank you.

Begin forwarded message:

From: Christian Lovelace <clovelace@lippes.com>
Date: December 29, 2015 at 10:49:04 PM EST
To: "'Andrew J. Shaevel'" <andrew.shaevel@bobalew.com>
Cc: Jon's Gmail Account <barabanus@gmail.com>
Subject: RE: Draft of PSA

Attached is a mark-up of the PSA and a draft termination agreement for your review. I am in meetings from 10AM until
probably around 1PM but available in the afternoon. Thanks, Christian M. Lovelace Partner
--
Prudent Investment Fund Dennis Klemming 2 Blvd de la Foire L-1528 Luxembourg Dennis@PrudentGroup.us
www.PrudentGroup.us +1 305 764 9400
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www.PrudentGroup.us +1 305 764 9400




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From:                             Gaurav Mohindra <gmohindra@randmlegal.com>
Sent:                             Thursday, April 30, 2015 4:42 PM
To:                               bruce@bikavergroup.com
Cc:                               Hirsh Mohindra ; Hylan Shaevel ; Bruce Passen ; Paul Traub
Subject:                          Re: Follow up - Hirsh.
Attachments:                      (Alternate Body); 2015_04_30_15_20_35 (1).pdf


Gentlemen:
Please refer to the attached agreement executed by Ashton. Should you have any questions, please don't hesitate to
contact us.
Best regards,Gaurav
On Thu, Apr 30, 2015 at 2:41 PM, <bruce@bikavergroup.com [mailto:bruce@bikavergroup.com] > wrote:
Gents:
Attached is the Final Settlement Document which has been signed and notarized by me. Please have all necessary
signatures and notary send back to me for our files.
Thank you all for handling this manner so professionally. I wish nothing but the best for all concerned.
Thank You
Bruce Passen
 -------- Original Message --------
 Subject: Follow up - Hirsh.
 From: Hirsh Mohindra <hirsh@ashtonasset.com [mailto:hirsh@ashtonasset.com] >
 Date: Tue, April 21, 2015 2:11 pm
 To: Hylan Shaevel <andy@hylanasset.com [mailto:andy@hylanasset.com] >, bruce <bruce@bikavergroup.com
[mailto:bruce@bikavergroup.com] >, Bruce Passen <bpassen@hotmail.com [mailto:bpassen@hotmail.com] >, Paul
Traub <paul@bikavergroup.com [mailto:paul@bikavergroup.com] >, Gaurav Mohindra <gmohindra@randmlegal.com
[mailto:gmohindra@randmlegal.com] >

Gentleman,
I am pleased an amicable resolution was found.I spoke to each of you individually, and to ensure we are all on the same
page - please refer to the following points of agreement :
1) Hylan/Ashton will remit $30,000,000 of principal face balance paper to Bruce/Paul.2) In consideration of the same,
Bruce/Paul will provide a release relinquishing Hylan/Ashton/Lender from any liability associated with this paper, and
the previously sold paper. 3) Bruce/Paul are prohibited to sell the $30,000,000 paper portfolio, and the previously sold
paper portfolio.4) Settlement shall remain confidential.

I think I captured our separate conversations in this email. Please advise if there are any material changes necessary to
this, as Andy is going to have his counsel proceed execution of settlement / release agreements.
Regards, Hirsh MohindraAshton Asset Management500 Quail Ridge Dr., Westmont, IL 60559M: 630.479.0000
[tel:630.479.0000] D: 630.243.4210 [tel:630.243.4210] IMG [http://www.ashtonasset.com/wp-
content/uploads/2013/04/email-...]www.ashtonasset.com [http://www.ashtonasset.com]


--
Gaurav K. Mohindra, Esq. Ravani &Mohindra P.C.500 Quail Ridge DriveWestmont IL 60559direct - 630-243-4207fax -
312-276-4309




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WHICH IT IS ADDRESSED AND MAY CONTAIN CERTAIN INFORMATION THAT IS PRIVILEGED, CONFIDENTIAL AND EXEMPT
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NOTIFY US IMMEDIATELY BY TELEPHONE AND RETURN THE ORIGINAL MESSAGE TO US AT THE ABOVE ADDRESS VIA THE
U.S. POSTAL SERVICE. THANK YOU.




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From:                             Jeffrey Brooks (Hylan) <Jeff@hylanasset.com>
Sent:                             Friday, April 24, 2015 1:04 PM
To:                               Hirsh Mohindra
Cc:                               Jon's Gmail Account
Subject:                          Re: How did it go?
Attachments:                      (Alternate Body)


 It did. He sees and knows that he can hit the numbers needed. Given what just happened with his groups in Charlotte
he's concerned that if they don't want to work it that he needs a backup plan. He'd also like to hear from us/ our
attorneys regarding our due diligence into things like hydra and that there is no question that even if they come at
lending practices. But he's getting comfortable. Just doesn't want to lose Charlotte as they are a huge part of his
business. So has onboarded 5 agencies in this week alone. Just building up backup plans.


 Jeff Brooks Business Development Executive IMG [206]


5477 Main Street [x-apple-data-detectors://0/0] Amherst, NY 14221 [x-apple-data-detectors://0/0] (716) 713-2634
[tel:(716)%20713-2634] - Mobile (716) 580-3135 [tel:(716)%20580-3135] - Hylan Main Office (855) 275-3651
[tel:(855)%20275-3651] - Toll-Free Hot Line (716) 580-3137 [tel:(716)%20580-3137] - Fax www.hylanasset.com
[http://www.hylanasset.com/] On Apr 24, 2015, at 12:54 PM, Hirsh Mohindra <hirsh@ashtonasset.com
[mailto:hirsh@ashtonasset.com] > wrote:

everything went well.. jeff can fill in more, we talked for about 15 mins. i think his comfort level moved up. Hirsh
Mohindra Ashton Asset Management 500 Quail Ridge Dr., Westmont, IL 60559 M: 630.479.0000 D: 630.243.4210
IMG [96]www.ashtonasset.com [http://www.ashtonasset.com]
On Fri, Apr 24, 2015 at 11:24 AM, Jon <barabanus@gmail.com [mailto:barabanus@gmail.com] > wrote:


Sent from my iPhone




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             Case 1:18-cv-00710-EAW-JJM Document 5-3 Filed 06/26/18 Page 51 of 119




From:                               Andrew J. Shaevel <andrew.shaevel@bobalew.com>
Sent:                               Friday, November 7, 2014 7:04 PM
To:                                 Preetesh Patel
Cc:                                 Ryan Zawistowski (Hylan) ; Hirsh Mohindra ; Jon's Gmail Account
Subject:                            Re: Internal Collected Graywave File


Preteesh -
We understand the business and the data. These problems are not consistent with the data we have received in the last
$500m of payday loans. This is a problem that needs to be fixed.

Andy

Andrew J. Shaevel, CEO
Bobalew Ventures
5477 Main Street
Amherst, New York 14221 USA [x-apple-data-detectors://3/0]
(716) 580-3133 [tel:(716)%20580-3133] - Office
(716) 860-1125 [tel:(716)%20860-1125] - Mobile
(716) 580-3137 [tel:(716)%20580-3137] - Fax
andrew.shaevel - Skype

Sent from my iPhone, please forgive any spelling mistakes or typos.

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action in reliance upon this communication is strictly prohibited. If you have received this communication in error, please
contact the sender immediately and delete the original message. Thank you.
On Nov 7, 2014, at 3:47 PM, Preetesh Patel <preetesh@ashtonasset.com [mailto:preetesh@ashtonasset.com] > wrote:

Hi Ryan, I understand your concern, but these are payday loans. There are going to be loans with bad SSN's. We have
seen this issue with every portfolio we have run in our office from various lenders. People type it in wrong into the the
website and that gets passed on.
If you would like to have that $4.79mm replaced with new accounts we can go ahead and do that.
Thanks, Preetesh

On Fri, Nov 7, 2014 at 1:51 PM, Ryan Zawistowski (Hylan) <ryan@hylanasset.com [mailto:ryan@hylanasset.com] >
wrote:
 Preetesh- We are aware of the same banking info and different debtors. That is not a problem for us. We understand a
couple/relatives can be using the same bank account. As I explained on the phone, we had to resort to sorting by bank
account number in order to find the problem because we have not faith in the accuracy of the SSNs. We really need the
correct SSNs for these accounts. Considering the known issues regrding “customer numbers” instead of unique account
numbers, the accurate SSN is of critical importance. If the SSN is inaccurate, there is no way to verify if any of the other
information is accurate or not. Can we determine how the SSNs got scrambled in the first place? We really need the
accurate SSNs for each account.
Thanks,

Ryan From: Preetesh Patel [mailto:preetesh@ashtonasset.com [mailto:preetesh@ashtonasset.com] ]
Sent: Friday, November 7, 2014 1:42 PM
 To: Andrew J. Shaevel
 Cc: Hirsh Mohindra; Jon's Gmail Account; Ryan Zawistowski (Hylan)
 Subject: Re: Internal Collected Graywave File I looked over the file that Ryan sent to me regarding debtors with the
same address, bank accounts but different names. I do not believe that there is major fraud with the file. 1. Same
banking info, address but different names and SSN. People living together can take out loans and use the same
address and banking info. I found a few examples in the spreadsheet and compared the names to the TLO Skip. The
duplicate records do show up as relatives or associates in the skip. This will resolve a large amount of files. 2. Different

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SSN's for same debtor Some of the SSN's are off by a digit or numbers are reversed. Even though the SSN was
incorrect the TLO skip did return the corect information. This will resolve a large amount of files. Some of the debtors
took out mulptile loans using different SSN's. Joel was not verfiying these SSN's and loans were issued. In some cases,
TLO is not returning any information. I can say that over the years we have found multiple debtors across multiple lenders
that have shown up in our system with this exact issue. Joel has said that if you would like some of the files replaced he
is willing to do that. Preetesh On Fri, Nov 7, 2014 at 10:31 AM, Andrew J. Shaevel <andrew.shaevel@bobalew.com
[mailto:andrew.shaevel@bobalew.com] > wrote: Hirsh – There is a MAJOR problem with data on this file. Either there
was a data transformation error or there is major FRAUD with this file. Ryan discovered that there are debtors with the
same name and address that have different SSNs, same bank accounts but different names and/or SSN’ s. THIS IS NOT
KOSHER! Andy
 Andrew J. Shaevel Chief Executive Officer
<image001.jpg> Bobalew Ventures 5477 Main Street
 Amherst, New York 14221 (716) 580-3133 [tel:%28716%29%20580-3133] - Office (716) 860-1125
[tel:%28716%29%20860-1125] - Mobile (716) 580-3137 [tel:%28716%29%20580-3137] - Fax
 website [http://www.bobalew.com/] CONFIDENTIALITY NOTICE: This communication and any attachments are
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From:                              Hirsh Mohindra <hirsh@ashtonasset.com>
Sent:                              Friday, November 7, 2014 11:58 AM
To:                                Andrew J. Shaevel ; Preetesh Patel
Subject:                           Re: Internal Collected Graywave File
Attachments:                       (Alternate Body)




Jumping on it now. We will get to bottom of asap.. Joel would not and is not frauding over these amounts.. Can you
send us more specifically the issues or accounts in question ?


On Nov 7, 2014, at 10:31 AM, Andrew J. Shaevel <andrew.shaevel@bobalew.com
[mailto:andrew.shaevel@bobalew.com] > wrote:

 Hirsh – There is a MAJOR problem with data on this file. Either there was a data transformation error or there is major
FRAUD with this file. Ryan discovered that there are debtors with the same name and address that have different SSNs,
same bank accounts but different names and/or SSN’s. THIS IS NOT KOSHER! Andy
 Andrew J. Shaevel Chief Executive Officer <image001.jpg> Bobalew Ventures 5477 Main Street Amherst, New York
14221 (716) 580-3133 - Office (716) 860-1125 - Mobile (716) 580-3137 - FaxThank you,Hirsh MohindraAshton Asset
Management500 Quail Ridge Dr.Westmont, IL 60559P: 630.479.0000www.ashtonasset.com
[http://www.ashtonasset.com] website [http://www.bobalew.com/]
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any action in reliance upon this communication is strictly prohibited. If you have received this communication in error,
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From:                               Jon <barabanus@gmail.com>
Sent:                               Monday, January 19, 2015 10:42 AM
To:                                 Omar@mdwc.net
Cc:                                 Hirsh Mohindra
Subject:                            Re: Omar / Jon.


Hi Omar. I spoke with Andy and I spoke with Hirsh. We would love to be able to put something together that would assist
you make some money and pay us back. Unfortunately, Dave made some promises to Andy to send to Hylan 50 or 70K
last week and then he "went ghost". I know that Andy was texting and emailing him all day Friday and nothing. The funds
didn't arrive either. We continue to suffer serious financial damages because of all this. Despite the fact that David and I
don't speak, I have been able to hold off my investors from filing suit. I am not certain whether I can hold them off any
longer. If we do file suit, please don't take this personally, as I happen to like you.
Hirsh, Andy and I are continuing to discuss the best way to handle this situation. I would really love to put the whole story
behind us. My intuition and life experience, however, tell me that this story is very far from over. Hopefully, my intuition is
wrong.
Financially, as Hirsh can explain to you, it makes more sense to us to dump this paper on dialer agencies that compliantly
clear 3-4% ( as opposed to 8-12% ) and then sell for a penny on the back end. When we raised capital to buy this
warehouse, the securities explicitly stated that we were raising capital to purchase BMG for placement purposes only.
Having said that, we are also selling this paper sometimes. Every time we sell it, we have to notify the investors of the
sale. Typically, we sell this paper for 1.75 to 2.25 in bulk. Smaller purchases we do for higher numbers. Considering the
fact that we have liquidation liqs on about 500M of this product that we have moved out, this is 2% paper all day.
Companies liquidate from 5% on the soft side to 12+% on the aggressive side.
Therefore, we would certainly be open to structure a "bulk" sale, as long as don't shoot ourselves in the foot by
undermining the market in the US. It's unreasonable for us to sell this paper for 1.4%.
Having said that, we could sell this paper on terms, where we would get 1.4% upfront and then carry another 60bps,
which could be paid to us over 3 months at 20bp per month rate. We would also have to receive full transparency into who
the buyers are to ensure that its not ending up with anyone we do business with currently. We would be willing to execute
a non-circumvention agreement to provide you with comfort.
Lastly, I think it's important for me to say that even if we do end up filing law suits ( and it's really not our call whether to
file or not ), it doesn't mean that we cannot mutually look for ways to amicably settle and cancel out the suits.
Thank you,

Jon

Sent from my iPhone
On Jan 19, 2015, at 9:23 AM, Omar@mdwc.net [mailto:Omar@mdwc.net] <omar@mdwc.net [mailto:omar@mdwc.net] >
wrote:

Jon,
Wanted to touch base and check if you spoke to Andy in regards to our discussion last week.

Omar Hussain
On Jan 14, 2015, at 1:19 PM, Jon <barabanus@gmail.com [mailto:barabanus@gmail.com] > wrote:

call             , I am by the phone

Sent from my iPhone
On Jan 14, 2015, at 2:18 PM, Omar@mdwc.net [mailto:Omar@mdwc.net] <omar@mdwc.net [mailto:omar@mdwc.net] >
wrote:

No Answer.
Called twice left VM for Andrew.


Omar HussainbrOn Jan 14, 2015, at 2:14 PM, Jon <barabanus@gmail.com [mailto:barabanus@gmail.com] > wrote:

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Sent from my iPhone
On Jan 14, 2015, at 2:13 PM, Omar@mdwc.net [mailto:Omar@mdwc.net] <omar@mdwc.net [mailto:omar@mdwc.net] >
wrote:

Didn't receive call.Text me your number and I will call
Omar Hussain
On Jan 14, 2015, at 2:09 PM, Jon <barabanus@gmail.com [mailto:barabanus@gmail.com] > wrote:

Calling

Sent from my iPhone
On Jan 14, 2015, at 2:04 PM, Jon <barabanus@gmail.com [mailto:barabanus@gmail.com] > wrote:

Ok

Sent from my iPhone
On Jan 14, 2015, at 1:55 PM, Omar Hussain <omar@mdwc.net [mailto:omar@mdwc.net] > wrote:

I am in Jamaica, you can call me on my local cell.

On Wed, Jan 14, 2015 at 1:51 PM, Jon <barabanus@gmail.com [mailto:barabanus@gmail.com] > wrote:
Ill all you on your cell

Sent from my iPhone
On Jan 14, 2015, at 1:49 PM, Omar Hussain <omar@mdwc.net [mailto:omar@mdwc.net] > wrote:

Jon,
Am I calling you on your cell or at the office?
On Tue, Jan 13, 2015 at 5:56 PM, Hirsh Mohindra <hirsh@ashtonasset.com [mailto:hirsh@ashtonasset.com] > wrote:
Guys,
I have spoken to the both of you over the last few days regarding each other's interests. Omar / Dave have secured some
large sized buyers and had turned to me regarding being able to purchase paper to execute their deals. I relayed to them
that all paper in my inventory and forth coming paper has been exclusively committed to Hylan. I told him I would try to
smooth things out with Jon, so that you guys can explore if this deal is right for both parties.
It sounds like the deal / deals are sizable in size and could be a win for both parties. Omar, as mentioned, Jon has had a
very bad experience over the past few months with MDWC, he needs to get the outstanding debts addressed; hopefully
via this deal and that should work to get Hylan / MDWC relationship back on track.
Guys, please take over this conversation, I don't like to be caught in the middle of things and hope you guys can cut a
deal together that works for all.
Regards, Hirsh MohindraAshton Asset Management500 Quail Ridge Dr., Westmont, IL 60559M: 630.479.0000
[tel:630.479.0000]     D: 630.243.4210 [tel:630.243.4210] IMG [96]www.ashtonasset.com [http://ww.ashtonasset.com]


--

Regards,
Omar HussainManaging Member
Midwestern Alliance


--

Regards,
Omar HussainManaging Member
Midwestern Alliance




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From:                              Jim Levin <jlevin@animus-group.com>
Sent:                              Monday, September 14, 2015 3:49 PM
To:                                Hirsh Mohindra
Cc:                                Preetesh Patel
Subject:                           Re: Participation Agreement - signed


Please send me 2 files ASAP 1- 2.5mm of option 3 for replacement 2- 50mm of option 3 for placement to replace previous
placement of older stuff
Many thanks,
Jim LevinDirector Animus Group312.391-2000Skype: jimhlevinwww.animus-group.com [http://www.animus-group.com]

Our Philosophies are simple."We never over promise and under deliver, we always under promise and over deliver""A
deal cannot be good for one, it must be good for all""May your YES's be YES and your NO's be NO"


On Sep 14, 2015, at 1:59 PM, Hirsh Mohindra <hirsh@ashtonasset.com [mailto:hirsh@ashtonasset.com] > wrote:

he got out of an old batch that correct is like hylans .. is he looking for new accounts.. look at that email i sent you on 3
options.. and pick the option he wants... and we will send him the proper file he is looking for Hirsh MohindraAshton
Asset Management500 Quail Ridge Dr., Westmont, IL 60559M: 630.479.0000 D: 630.243.4210 IMG
[96]www.ashtonasset.com [http://www.ashtonasset.com]
On Mon, Sep 14, 2015 at 1:10 PM, Jim Levin <jlevin@animus-group.com [mailto:jlevin@animus-group.com] > wrote:
Hirsh,We have had this file working for a couple days and according to Todd and his floor manager are stating that this is
nowhere near previous files.It most resembles Ham 7 file from Hylan.There is a tremendous amount of denials and
refusals.He also states that this is nowhere near the strats from the 2.3 bb file.Also, there is 11 suspect lenders that
cannot be collected on.He is calling me after 6:30 to let me know the results after today, but thus far not good.

Jim LevinDirectorAnimus GroupPH: 312.391-2000 [tel:312.391-2000] SKYPE: JIMHLEVINwww.animus-group.com
[http://www.animus-group.com]
  Our Philosophies are simple."We never over promise and under deliver, we always under promise and over deliver""A
deal cannot be good for one, it must be good for all""May your YES's be YES and your NO's be NO"

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condition to Sender.

On Sep 4, 2015, at 12:31 PM, Preetesh Patel <preetesh@ashtonasset.com [mailto:preetesh@ashtonasset.com] > wrote:

Hi Jim,Attached is the executed Participation Agreement. We added the date in section 1. Can you initial and send back
a copy.
I will send the file through Sharefile.
Thanks,Preetesh PatelVice PresidentAsset Recovery


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IMG [http://www.ashtonasset.com/wp-content/uploads/2013/04/email-...]Ashton Asset Management
500 Quail Ridge DriveWestmont, IL 60559M: 630.605.6285 [tel:630.605.6285] D: 630.343.0710 [tel:630.343.0710]
On Thu, Sep 3, 2015 at 8:31 PM, Jim Levin <jlevin@animus-group.com [mailto:jlevin@animus-group.com] > wrote:
Hirsh,
 Both Kevin and I have signed the attached document.
 Please sign and return and send me the file.

Many thanks,




Jim Levin
 Director
 Animus Group
 PH: 312.391-2000 [tel:312.391-2000]
 SKYPE: JIMHLEVIN
 www.animus-group.com [http://www.animus-group.com]



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"A deal cannot be good for one, it must be good for all"
"May your YES's be YES and your NO's be NO"


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this Disclaimer. If acknowledgment is not accepted, Recipient must return any and all documents in their original receipted
condition to Sender.



<Participation Agreement.pdf>




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From:                              Hirsh Mohindra <hirshm@gmail.com>
Sent:                              Thursday, February 19, 2015 11:30 AM
To:                                Andrew J. Shaevel
Cc:                                Mohindra Hirsh; Jon's Gmail Account
Subject:                           Re: Payday Lenders


This is not new news.. They do have regulators on them and a lot of the lenders are getting looked into under bmg
umbrella .. The only loans that they pulled back were the 285million of the 1billion the Tucker's never sold in the
marketplace as they knew that those are the ones that were going to be pulled back.

Allegations of high charges and unfair underwriting .. We know that's why they are out of business ..



On Feb 19, 2015, at 9:49 AM, Andrew J. Shaevel <andrew.shaevel@bobalew.com> wrote:

        FYI. This might be an issue.


        Andy

        Andrew J. Shaevel, CEO
        Bobalew Ventures
        5477 Main Street
        Amherst, New York 14221 USA
        (716) 580‐3133 ‐ Office
        (716) 860‐1125 ‐ Mobile
        (716) 580‐3137 ‐ Fax
        andrew.shaevel ‐ Skype

        Sent from my iPad, please forgive any spelling mistakes or typos.


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        and delete the original message. Thank you.


        Begin forwarded message:

                From: "Greg Grigorian (Hylan)" <Greg@hylanasset.com>
                Date: February 19, 2015 at 10:16:47 AM EST
                To: "Andrew J. Shaevel (Hylan)" <Andy@hylanasset.com>, Jon's Gmail Account
                <barabanus@gmail.com>
                Subject: FW: Payday Lenders

                Please advise how I should respond to this??????
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  From: grega@ufsworks.com [mailto:grega@ufsworks.com]
  Sent: Wednesday, February 18, 2015 8:49 PM
  To: Greg Grigorian (Hylan)
  Cc: grega@ufsworks.com
  Subject: Payday Lenders
  Importance: High

  Hi Greg:

  Please have a look at the article below, which references lenders in the portfolio sold to
  UFS. Are you aware of this?



  U.S. halts payday loan schemes that siphoned $162
  million from consumers' accounts
  CLEVELAND, Ohio -- The U.S. government shut down two online payday
  lenders that siphoned a combined $162 million from consumers' bank
  accounts in what regulators described as a "cash-grab scam."

  The payday lenders used information from online loan shopping sites to
  deposit loans in unwitting consumers' accounts and then repeatedly
  dinged them for finance charges.

  "It is an incredibly brazen and deceptive scheme," said Richard Cordray,
  director of the Consumer Financial Protection Bureau, which joined
  the Federal Trade Commission in tag-team enforcement actions.

  When people disputed the debits with their banks, the lenders fabricated
  documents that purported to show consumers had agreed to the loans,
  Cordray said. As a result, banks sometimes sided with the payday lenders,
  and customers lost their disputes.

  And if consumers tried to close their bank accounts to avoid charges, they
  were hounded by debt collectors.

  As many as 2,300 consumers nationwide complained to the CFPB and
  FTC about the unwanted payday loans. Two separate lending groups used
  the same basic scheme, which started with online payday loan shopping
  sites known as lead generators.


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  Consumers shared personal and banking information with the sites, which
  promise to match consumers with lenders. The payday lenders bid for
  these sales leads.

  Once the payday groups had consumer information in hand, they
  deposited "payday loans" of several hundred dollars into people's
  bank accounts without their consent. Every two weeks, the companies then
  debited finance charges as high as $90 from their unwitting customers'
  accounts.

  Both companies established multiple corporate identities in what the
  agencies said was an attempt to throw off banks and regulators.

  "There were some consumers who appear to have actually applied for the
  loans," said Jessica Rich, director of the Federal Trade Commission. "But
  make no mistake: even these consumers were horribly deceived about the
  costs of the loans." The payday group the FTC sued advertised one-time
  fees, but repeatedly tapped accounts, in some cases, until they were
  drained, she said.

  Rich warned consumers who are shopping for loans online not to share
  personal information with companies they don't know -- because they sell
  it to other companies, some of whom might be scammers.

  "We're seeing more and more of these types of scams," she said. Rich said
  the agency is trying to identify online brokers who sold the information to
  the sued payday lenders.

  The CFPB won a court order temporarily halting Hydra Group, which the
  bureau said made as much as $97 million in payday loans and collected as
  much as $115 million from customers' bank accounts since 2011.

  The CFPB's lawsuit names Richard F. Moseley Sr., Richard F. Moseley Jr.,
  and Christopher J. Randazzo, who control the Hydra Group. Other
  companies in the group include SSM Group, Hydra Financial Limited
  Funds, PCMO Services and Piggycash Online Holdings.

  In a separate action, the FTC got a temporary court order shutting a web of
  companies owned by Timothy Coppinger and Frampton (Ted) Rowland
  III. Those include limited liability companies known as CWB Services;
  Orion Services; Sandpoint; Sand Point Capital; Basseterre Capital;
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  Namakan Capital; Vandelier Group; St. Armands Group; Anasazi Group;
  Anasazi Services; Longboat Group, dba Cutter Group; Oread Group, dba
  Mass Street Group.

  The FTC said the CWB Services group made an estimated $28 million in
  loans and collected $47 million from consumers' accounts in an 11-month
  period. The court appointed a receiver.

  Both suits seek restitution for consumers.



  Greg Apostolou
  President & Chief Executive Officer

  Universal Financial Systems
  5877 Pine Avenue, Suite 200
  Chino Hills, CA 91709
  T: (800) 837-5456 | F: (877) 240-7010
  grega@ufsworks.com | www.ufsworks.com


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  sender by telephone, e‐mail, or mail and destroy the message without reading it. Thank
  you.




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            Case 1:18-cv-00710-EAW-JJM Document 5-3 Filed 06/26/18 Page 63 of 119




From:                              Jeffrey Brooks (Hylan) <Jeff@hylanasset.com>
Sent:                              Thursday, November 20, 2014 2:15 PM
To:                                Andrew J. Shaevel
Cc:                                Hirsh Mohindra ; Jon's Gmail Account
Subject:                           Re: Problem with BMG 10m accounts
Attachments:                       (Alternate Body)


 I am going to setup a call w angel and/or angel. There are a few possible variables. One, if you look up certain lenders
the cfpb case and allegations are readily available. As such, easy for debtor to find a plausible defense. Second, it's
possible that the account funds were to be drafted from for repayment was not the account the loan was deposited
into.
Now, to play the Devils advocate, one could argue there is some potential substantiation to the claims made against
certain lenders. Regardless, the file performs and given the price point, with appropriate rebuttals and insight on the file
itself by the agency owners these should have a minimal impact.


 Jeff Brooks Business Development Executive IMG [206]5477 Main Street [x-apple-data-detectors://0/0] Amherst, NY
14221 [x-apple-data-detectors://0/0] (716) 713-2634 [tel:(716)%20713-2634] - Mobile (716) 580-3135
[tel:(716)%20580-3135] - Hylan Main Office (855) 275-3651 [tel:(855)%20275-3651] - Toll-Free Hot Line (716) 580-3137
[tel:(716)%20580-3137] - Fax www.hylanasset.com [http://www.hylanasset.com/] On Nov 20, 2014, at 1:47 PM,
Andrew J. Shaevel <andrew.shaevel@bobalew.com [mailto:andrew.shaevel@bobalew.com] > wrote:

This is an issue that has been raised from the first batch of the most recent batch of accounts (internal collected
Graywave). Thoughts? Andy To: Jeff Brooks <jeff@hylanasset.com [mailto:jeff@hylanasset.com] >
 Subject: FW: Problem with BMG 10m accounts FYI Uh oh.. From: Oleg Kio <okio@urgonline.com
[mailto:okio@urgonline.com] >
 Date: Thursday, November 20, 2014 at 10:29 AM
 Cc: Angel Lopez <alopez@urgonline.com [mailto:alopez@urgonline.com] >, Felix Lopez <flopez@urgonline.com
[mailto:flopez@urgonline.com] >
 Subject: Problem with BMG 10m accounts David, As I mentioned yesterday, we are having issues with the BMG
accounts. Considerable number of people are saying that they never received the loan and we were able to get a few
bank statements showing that there was no deposit matching the loan amount anywhere near the loan date. If this
continues, we are looking into taking these accounts off the floor and getting a refund... Below are some examples.
RODNEY AHTUANGARUAK
     -xx-
 TRIPLE SERVICES LLC
 Bank statement does not show any deposits matching loan amount

VIKTORIA VAN EYCKE
    -xx-
EPPROCESSING
Bank statement does not show any deposits matching loan amount

GLENDON ARVIN
   -xx-
JHS MARKETING
Bank statement does not show any deposits matching loan amount


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SANDRA BEITER
   -xx-
VISTA HOLDINGS GROUP
Bank statement does not show any deposits matching loan amount

WESLEY ROBINSON
   -xx-
BEL CAPITAL CORP
Spoke with bank, bank account never existed -- Oleg

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otherwise be privileged and confidential. If the reader of this message, regardless of the address or routing, is not an
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e-mail and all files transmitted with it from your system and immediately notify our offices by sending a reply e-mail to
the sender of this message.




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From:                              Jon <barabanus@gmail.com>
Sent:                              Monday, December 1, 2014 2:58 PM
To:                                Preetesh Patel
Cc:                                Jeffrey Brooks (Hylan) ; Hirsh Mohindra
Subject:                           Re: Two questions
Attachments:                       (Alternate Body)




Preetesh, Hirsh and I spoke about you talking to Jeff on how to best collect on this paper ( the internal ).
Would you be so kind to schedule a call with Jeff and really tell him as much as possible on how to collect on it, the talk
offs, the whole bit ....please be very open with him Hirsh, plz confirm Thank you, Jon Sent from my iPhone On Dec 1,
2014, at 2:42 PM, Preetesh Patel <preetesh@ashtonasset.com [mailto:preetesh@ashtonasset.com] > wrote:

Hi Jeff,I will resend the file. I have not spoken to Ryan. I will call him shortly to find out about the file.
Thanks,Preetesh
On Dec 1, 2014, at 1:34 PM, Jeffrey Brooks (Hylan) <Jeff@hylanasset.com [mailto:Jeff@hylanasset.com] > wrote:

Hey buddy, I hope all is well. Will you send me the guaranteed fast cash (although I may have name wrong) at your
earliest convenience? Also, I believe Ryan spoke with you about batch skipping a file for us. What is the status of this?
Thanks.


 Jeff Brooks Business Development Executive IMG [206]5477 Main Street [x-apple-data-detectors://0/0] Amherst, NY
14221 [x-apple-data-detectors://0/0] (716) 713-2634 [tel:(716)%20713-2634] - Mobile (716) 580-3135
[tel:(716)%20580-3135] - Hylan Main Office (855) 275-3651 [tel:(855)%20275-3651] - Toll-Free Hot Line (716) 580-3137
[tel:(716)%20580-3137] - Fax www.hylanasset.com [http://www.hylanasset.com/]




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From:                              Andrew Shaevel <andy@hylanasset.com>
Sent:                              Thursday, June 11, 2015 9:45 PM
To:                                'Hirsh Mohindra'
Cc:                                'Gaurav Mohindra' ; Jon's Gmail Account ; Ryan Zawistowski (Hylan) ; Preetesh Patel
Subject:                           Request for Swap of Unqualified Accounts
Attachments:                       (Alternate Body); image002.jpg; HAM Letter to Ashton regardingUnqualified Accounts -
                                   2015-06-08.pdf


Hirsh –
As we discussed on Monday, attached please find the letter regarding Unqualified Accounts resulting from our recent
notice of legal actions against certain lenders included in prior sales. While I know you are heading out of town, I would
appreciate your efforts to empower your team to proceed with the requested swap of accounts. Warm personal
regards… Andy
 Andrew J. ShaevelChief Executive Officer IMG [Picture_x0020_2]5477 Main StreetAmherst, NY 14221(716) 362-7855 -
Office(716) 580-3137 –Fax(716) 860-1125 - Mobilewww.hylanasset.com [http://www.hylanasset.com/] NOTICE: Hylan
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From:                              Ryan Zawistowski (Hylan) <ryan@hylanasset.com>
Sent:                              Wednesday, January 27, 2016 5:44 PM
To:                                Mohindra Hirsh ; Hirsh Mohindra
Cc:                                Andrew J. Shaevel ; Jon's Gmail Account ; Christian Lovelace
Subject:                           Returned Accounts
Attachments:                       (Alternate Body); image001.jpg; 2016-1-27 - Affadavit Debtors.pdf


 Hirsh- Please find the attached list of debtors that have submitted Sworn Affidavits disputing the validity of their debt.
Pursuant to the representations and warranties of our contracts, we are returning these accounts and asking for
replacement accounts.
Additionally, for the two accounts that are noted with “VOD Required,” we have received verification of debt requests.
Please provide us with supporting media or documentation as soon as possible, as we are required to return the VOD to
the consumer in the next 20 days. Thanks, Ryan
 Ryan Zawistowski Operations Manager IMG [206]5477 Main Street Amherst, NY 14221 (716) 580-3135 ext: 107 -
Office (855) 275-3651 - Toll-Free Hot Line (716) 580-3137 - Fax www.hylanasset.com [http://www.hylanasset.com/]
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No.     Debtor Name        Account Number         Original Creditor      Face Value   Verification of Debt
 1    Edmond Morrow                              Archway Holdings        $   510.00
 2    Edmond Morrow                           Oakwood Services, LLC      $   580.00
 3    Edmond Morrow                                Alliance Online       $   590.00
 4    Edmond Morrow                                Alliance Online       $   400.00
 5       Kelly German                             Bel Capital Corp       $   605.00
 6       Kelly German                               EP Processing        $   480.00
 7       Kelly German                              JVC Processing        $   455.00
 8       Kelly German                             WTJ Capital, LLC       $   570.00
 9     Brandon Hanley                             Bel Capital Corp       $   480.00
10     Brandon Hanley                               Lazer Lending        $   590.00
11     Brandon Hanley                            Liberty Group, LLC      $   510.00
12     Brandon Hanley                                JD Marketing        $   480.00
13       Jeffrey Noell                         Alpine Direct Services    $   430.00
14       Jeffrey Noell                             Vin Capital, LLC      $   480.00
15       Jeffrey Noell                          Twin Bluffs Financial    $   355.00
16       Jeffrey Noell                             WTJ Captial LLC       $   510.00
17      Steven Walker                            St. Armands Group       $   270.00
18      Steven Walker                            Mass Street Group       $   485.00
19      Steven Walker                          Vista Holdings Group      $   420.00
20      Steven Walker                               EP Processing        $   625.00
21        Jeffrey Way                             WTJ Capital, LLC       $   750.00
22        Jeffrey Way                                JD Marketing        $   430.00
23        Jeffrey Way                          Global Group Holding      $   510.00
24    Marcia Bresnahan                            WTJ Capital, LLC       $   590.00
25    Marcia Bresnahan                        Kingston Marketing LLC     $   400.00
26    Marcia Bresnahan                             Mesa Financial        $   490.00
27    Marcia Bresnahan                      Horizon Opportunities, LLC   $   510.00
28     Austin Watkins                       Horizon Opportunities, LLC   $   260.00
29     Austin Watkins                          Westgate Group, LLC       $   480.00
30    Geoffrey Berstein                          Kenwood Services        $   570.00
31    Geoffrey Berstein                        Alpine Direct Services    $   510.00
32    Geoffrey Berstein                     Mack Development Group       $   480.00
33    Geoffrey Berstein                       Oakwood Services, LLC      $   350.00
34    William Prusiensky                    Greenwood Holding Group      $   255.00
35    William Prusiensky                       Cardinal Management       $   460.00
36    William Prusiensky                         Kenwood Services        $   510.00
37      Rhonda Gayle                               Mesa Financial        $   625.00
38      Rhonda Gayle                               SJM Marketing         $   400.00
39      Rhonda Gayle                          Kingston Marketing LLC     $   510.00
40      Rhonda Gayle                           The Seven Group, LLC      $   357.00
41     Lorraine Yarngo                           Kenwood Services        $   650.00
42     Lorraine Yarngo                           Kenwood Services        $   590.00
43     Lorraine Yarngo                             SGQ Processing        $   250.00
44     Lorraine Yarngo                        Highland Holdings, LLC     $   480.00
45       Maya Young                               Midland Financial      $   560.00
46       Maya Young                                 Lazer Lending        $   520.00
47       Maya Young                                 Lazer Lending        $   480.00
48      Lynell Ingram                              Fox Enterprises       $   560.00
49      Lynell Ingram                         Manhattan Processing       $   455.00
50      Lynell Ingram                               EP Processing        $   480.00
51    Stanley Robinson                       Shamrock Holding Group      $   510.00
52         Angel Day                             Liberty Group, LLC      $   510.00
53         Angel Day                               JVC Processing        $   430.00
54         Angel Day                           The Seven Group, LLC      $   480.00
55       Brian Dresky                                 DJR Group          $   510.00
56       Brian Dresky                          Cornerstone Partners      $   465.00
57       Brian Dresky                       Horizon Opportunities, LLC   $   600.00
58       Brian Dresky                                JD Marketing        $   625.00


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59    James Askew                    Lazer Lending       $   590.00
60    James Askew                Compass Capital, LLC    $   420.00
61    James Askew               Highland Holdings, LLC   $   355.00
62    James Askew               The Seven Group, LLC     $   480.00
63     David Burt                 Anasazi Group, LLC     $   785.00
64   Daniel Gorman                  JHS Marketing        $   550.00
65   Daniel Gorman                  JVC Processing       $   480.00
66   Daniel Gorman              Manhattan Processing     $   440.00
67   Daniel Gorman                   EP Processing       $   510.00
68   Paris Johnson              The Seven Group, LLC     $   305.00   x
69   Paris Johnson                    Tior Capital       $   520.00   x
70   Paris Johnson              Global Group Holding     $   550.00   x
71   Paris Johnson                 Titan Group, LLC      $   550.00   x
72   Michael Basile                  Lazer Lending       $   420.00   x
73   Michael Basile             Cardinal Management      $   460.00   x
74   Michael Basile                  JD Marketing        $   360.00   x
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     EXHIBIT 2




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From:                            Kamran Bashir <kamran@ashtonasset.com>
Sent:                            Monday, November 9, 2015 12:54 PM
To:                              Frank Ungaro
Subject:                         Re: contract
Attachments:                     (Alternate Body); WPG AAM Placement Contract. Executed Copy.pdf; signed Schedule A
                                 WPG.pdf


Frank,
My apologies, you are right; here is the executed copy for your record as well as I am updating the dropbox too. Kamran
Bashir Vice President of Operations

IMG [http://www.ashtonasset.com/wp-content/uploads/2013/04/email-...]Ashton Asset Management
500 Quail Ridge DriveWestmont, IL 60559M: 801.662.8341 D: 630.343.0710 On Mon, Nov 9, 2015 at 11:29 AM,
<fungaro@worldwideprocessinggroup.info [mailto:fungaro@worldwideprocessinggroup.info] > wrote:
Kamran,
I just resent the email that had the signed contract attached.
Frank UngaroMember ManagerWorld Wide Processing Group,LLCOffice: 1-877-472-4590 [tel:1-877-472-4590] Cell: 1-
970-218-2465 [tel:1-970-218-2465] Fax: 1-800-213-7915 [tel:1-800-213-7915]




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From:                             fungaro@worldwideprocessinggroup.info
Sent:                             Thursday, October 22, 2015 11:37 AM
To:                               Kamran Bashir
Subject:                          RE: Contract Pending
Attachments:                      signed service agreement WPG.pdf


Here you go.
Frank UngaroMember ManagerWorld Wide Processing Group,LLCOffice: 1-877-472-4590Cell: 1-970-218-2465Fax: 1-
800-213-7915


-------- Original Message --------
Subject: RE: Contract Pending
From: <fungaro@worldwideprocessinggroup.info [mailto:fungaro@worldwideprocessinggroup.info] >
Date: Thu, October 22, 2015 10:27 am
To: "Kamran Bashir" <kamran@ashtonasset.com [mailto:kamran@ashtonasset.com] >

I will be sending over contracts shortly. We are currently using a domestic processor.
Frank UngaroMember ManagerWorld Wide Processing Group,LLCOffice: 1-877-472-4590Cell: 1-970-218-2465Fax: 1-
800-213-7915


-------- Original Message --------
Subject: Contract Pending
From: Kamran Bashir <kamran@ashtonasset.com>
Date: Tue, October 20, 2015 3:41 pm
To: fungaro@worldwideprocessinggroup.info,
ncurtis@worldwideprocessinggroup.info
Cc: Preetesh Patel <preetesh@ashtonasset.com>

Hi Frank,


Following up on the placement contract that was sent to you yesterday. Please submit the contract at your earliest and
if you have any questions or concerns please do not hesitate to call me directly. Also can you confirm the processor that
you are currently using (i-e; Domestic or Offshore).

Your prompt reply is highly appreciated.


Sincerely,


Kamran Bashir
Vice President of Operations

IMG [http://www.ashtonasset.com/wp-content/uploads/2013/04/email-...]Ashton Asset Management
500 Quail Ridge DriveWestmont, IL 60559M: 801.662.8341 D: 630.343.0710 =

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From:                             fungaro <fungaro@worldwideprocessinggroup.info>
Sent:                             Friday, March 18, 2016 4:18 PM
To:                               Kamran Bashir
Subject:                          Re: peak 9 remit
Attachments:                      (Alternate Body)


Yes more disputes.


Sent on my Samsung Galaxy S® 5

-------- Original message --------
From: Kamran Bashir <kamran@ashtonasset.com>
Date: 03/18/2016 4:12 PM (GMT-05:00)
To: Frank Ungaro <fungaro@worldwideprocessinggroup.info>
Subject: Re: peak 9 remit

Thanks Frank,
Also, What i really wanted to ask is what are some of complaints that you are hearing on the floor in regards to the new
placement, I know Rod had mentioned that people are disputing more heavily and such, just want to know some of your
concerns, and i am digging into the placement little bit more on my side.

Thanks Kamran

Kamran Bashir
Vice President of Operations

IMG [96]Ashton Asset Management
500 Quail Ridge DriveWestmont, IL 60559M: 801.662.8341 D: 630.324.0819 On Fri, Mar 18, 2016 at 3:03 PM,
<fungaro@worldwideprocessinggroup.info [mailto:fungaro@worldwideprocessinggroup.info] > wrote:
Here you go
Frank UngaroMember ManagerWorld Wide Processing Group,LLCOffice: 1-877-472-4590 [tel:1-877-472-4590] Cell: 1-
970-218-2465 [tel:1-970-218-2465] Fax: 1-800-213-7915 [tel:1-800-213-7915]




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From:                             Kamran Bashir <kamran@ashtonasset.com>
Sent:                             Friday, March 18, 2016 4:12 PM
To:                               Frank Ungaro
Subject:                          Re: peak 9 remit
Attachments:                      (Alternate Body)


Thanks Frank,
Also, What i really wanted to ask is what are some of complaints that you are hearing on the floor in regards to the new
placement, I know Rod had mentioned that people are disputi ng more heavily and such, just want to know some of your
concerns, and i am digging into the placement little bit more on my side.

Thanks Kamran

Kamran Bashir
Vice President of Operations

IMG [96]Ashton Asset Management
500 Quail Ridge DriveWestmont, IL 60559M: 801.662.8341 D: 630.324.0819 On Fri, Mar 18, 2016 at 3:03 PM,
<fungaro@worldwideprocessinggroup.info [mailto:fungaro@worldwideprocessinggroup.info] > wrote:
Here yo go
Frank UngaroMember ManagerWorld Wide Processing Group,LLCOffice: 1-877-472-4590 [tel:1-877-472-4590] Cell: 1-
970-218-2465 [tel:1-970-218-2465] Fax: 1-800-213-7915 [tel:1-800-213-7915]




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     EXHIBIT 3




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From:                              Andrew J. Shaevel <andrew.shaevel@bobalew.com>
Sent:                              Thursday, June 11, 2015 8:19 PM
To:                                Jon's Gmail Account ; Greg Grigorian (Hylan) ; Jeffrey Brooks (Hylan) ; Bruce H. Gray
                                   (bruce.h.gray@gmail.com) ; lance@hollinservicesgroup.com
Cc:                                Hirsh Mohindra ; Preetesh Patel
Subject:                           Ashton Support
Attachments:                       (Alternate Body); image001.jpg


 Gentlemen – We really need to talk about our collective expectations from Ashton as it relates to post sale product
support for agencies servicing the BMG Warehouse. Hirsh called today somewhat frustrated by the seemingly endless
chain of emails and calls coming from agencies working placements for Hylan. Some of the questions appear to be
beyond product support and/or best practice sharing and Hirsh has questioned everyone’s role in supporting these
agencies. To be clear, Hirsh wants to be helpful, but does not want his team to be taken advantage of (my words not
his). It is clear to me we need a conversation to establish clear roles and responsibilities for agency support and/or
consultation. As I have said many times, Hylan will not be a manager or consultant for agencies. Hylan can provide
vendor oversight as the owner/manager of the placed debt. My understanding is that Hollins is positioned to be a
manager/consultant for the agencies, and as such, if these roles have not been clearly articulated and delineated, they
need to be. Can we schedule a call for Monday for Tuesday next week to discuss and resolve this? Let me know your
respective availability…thanks! Andy Andrew J. Shaevel Chief Executive Officer IMG [288]Bobalew Ventures 5477 Main
Street Amherst, New York 14221 (716) 580-3133 - Office (716) 860-1125 - Mobile (716) 580-3137 - Fax
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Thank you.




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From:                              Andrew J. Shaevel <andrew.shaevel@bobalew.com>
Sent:                              Wednesday, July 15, 2015 1:05 PM
To:                                'Hirsh Mohindra'
Cc:                                Preetesh Patel
Subject:                           Debtor Swap
Attachments:                       (Alternate Body); image001.jpg


 Hirsh –
I would like to schedule a call tomorrow to talk about a debtor swap. One of the huge mistakes of the BMG file was that
the same debtor is in many of the files. We had a good update call with Jay and Todd today. Both want us to sort the
debtors so there is no overlap (if possible) between the two files. We have sorted through all the inventory at Hylan and
now have it organized by SSN. We would like to take the balance that is available for sale and do the same and then
swap accounts between ourselves so we have distinct and exclusive debtor pools. I know Preetesh is out of the office
with his new child (I hope, I haven’t heard any update on the C-Section yet) Andy
 Andrew J. Shaevel Chief Executive Officer IMG [288]Bobalew Ventures 5477 Main Street Amherst, New York 14221
(716) 580-3133 - Office (716) 860-1125 - Mobile (716) 580-3137 - Fax
 website [http://www.bobalew.com/] CONFIDENTIALITY NOTICE: This communication and any attachments are
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Thank you.




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            Case 1:18-cv-00710-EAW-JJM Document 5-3 Filed 06/26/18 Page 98 of 119




From:                              Ryan Zawistowski (Hylan) <ryan@hylanasset.com>
Sent:                              Thursday, July 2, 2015 11:09 AM
To:                                Preetesh Patel
Cc:                                Hirsh Mohindra ; Andrew J. Shaevel ; Jon's Gmail Account
Subject:                           FW: Select Lender Recall
Attachments:                       (Alternate Body); image001.jpg; Select Lender Return Summary.pdf; Attachments.html


Preetesh- See attached…

Thanks,
Ryan From: Ryan Zawistowski (Hylan)
Sent: Tuesday, June 30, 2015 1:08 PM
 To: Preetesh Patel
 Cc: Andrew J. Shaevel; Hirsh Mohindra; Jon's Gmail Account (barabanus@gmail.com)
 Subject: Select Lender Recall ShareFile Attachments Title Size Final Return File 1 - Ashton.xlsx 132.8 MB Final Return
File 2 - Ashton.xlsx 2 MB Download Attachments [https://bobalew.securevdr.com/d/se7fc8d2c5e24ac88] Ryan
Zawistowski uses ShareFile to share documents securely. Learn More. [http://www.sharefile.com/?src=system-email-
outlookplugin&amp...] Good Morning Preetesh- Pursuant to Andy’s letter dated June 8th, 2015, and Hirsh and Andy’s
agreement effective June 15th, 2015, attached please find the detailed listing of accounts that Hylan is returning to
Ashton on behalf of Hylan Debt Fund, LLC and its various series. In addition, I have attached a summary by lender,
charge off year, and state. Ideally, we would like the replacement file to have similar characteristics. Andy and Hirsh
have agreed that the effective date for this recall is June 15th, 2015. Please note that we recalled a subset of these
accounts from various placement agencies. The effective date of the recall was June 15th, although, some agencies did
not confirm the recall until June 23rd. Given the nature of this recall, we have authorized the agencies to keep 100% of
the payments from June 15th to June 23rd. We anticipate the gross change in balances to be less than $30,000. All
agencies have since confirmed the return of these accounts. We will advise you of the balance changes between these
dates. If you have any questions, please do not hesitate to call me. Please let me know when we can expect a
replacement file.
Thanks,

Ryan
 Ryan Zawistowski Operations Manager IMG [0]5477 Main Street Amherst, NY 14221 (716) 580-3135 ext: 107 - Office
(855) 275-3651 - Toll-Free Hot Line (716) 580-3137 - Fax www.hylanasset.com [http://www.hylanasset.com/]
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                                                                          Select Lender Return Summary
                                                                             Hylan Asset Management, LLC
                                                                                    June 15th, 2015




State                           # of Accts    Face Value       Percent      State     # of Accts     Face Value       Percent
DJR Group LLC                         84190   $ 35,575,631.50 14.95%        TX              81430    $ 35,219,867.27 14.80%
St. Armands Group                     63063   $ 26,841,510.96 11.28%        FL              66227    $ 28,285,683.88 11.88%
Cutter Group LLC                      57893   $ 24,775,542.28 10.41%        NC              48521    $ 20,488,569.94     8.61%
Vandelier Group LLC                   56168   $ 24,019,454.38 10.09%        CA              36155    $ 15,902,228.47     6.68%
Mass Street Group                     53687   $ 23,110,884.07     9.71%     IL              33584    $ 14,382,295.28     6.04%
JHS Marketing                         51274   $ 23,075,200.54     9.69%     SC              26362    $ 10,997,814.53     4.62%
Anasazi Group LLC                     51713   $ 22,257,848.49     9.35%     MD              24826    $ 10,800,701.66     4.54%
SSM Group LLC                         47980   $ 19,773,212.63     8.31%     MI              24081    $ 10,344,236.29     4.35%
Longboat Services                     26278   $ 11,865,852.15     4.99%     LA              24086    $ 10,197,714.71     4.28%
Huskhawk Group Ltd.                   26271   $ 11,841,742.43     4.98%     NJ              19377    $ 8,393,410.45      3.53%
Anasazi Services LLC                  14106   $ 5,781,662.92      2.43%     TN              19264    $ 8,171,413.30      3.43%
Huskhawk Group LTD                    11737   $ 4,884,976.05      2.05%     MS              13630    $ 5,697,909.41      2.39%
Hydra Financial Limited                8375   $ 2,940,069.30      1.24%     AL              13525    $ 5,693,652.01      2.39%
Longboat Services LLC                  2369   $     974,797.50    0.41%     PA              13165    $ 5,642,636.91      2.37%
JHS Group                               338   $     143,440.00    0.06%     KY              11016    $ 4,695,126.51      1.97%
BCD/Hydra Financial Limited             313   $     133,380.00    0.06%     OK              10189    $ 4,352,077.02      1.83%
Namakan                                  59   $      18,780.00    0.01%     WI               8712    $ 3,688,106.83      1.55%
                                   555,814    $ 238,013,985.20 100.00%      MA               8007    $ 3,470,998.35      1.46%
                                                                            CT               7769    $ 3,360,690.89      1.41%
CO Year                         # of Accts    Face Value       Percent      NV               6685    $ 2,909,540.50      1.22%
                         2010          141    $      60,330.00    0.03%     IA               6371    $ 2,676,737.07      1.12%
                         2011      175,537    $ 75,258,143.03 31.62%        DE               4647    $ 1,986,410.00      0.83%
                         2012      259,989    $ 112,167,123.11 47.13%       NM               4470    $ 1,912,119.12      0.80%
                         2013      120,147    $ 50,528,389.06 21.23%        WA               4194    $ 1,835,515.44      0.77%
                                   555,814    $ 238,013,985.20 100.00%      DC               3495    $ 1,518,826.00      0.64%
                                                                            AR               3406    $ 1,449,819.00      0.61%
                                                                            UT               3220    $ 1,389,287.66      0.58%
                                                                            NE               3292    $ 1,375,977.31      0.58%
                                                                            OR               3149    $ 1,335,484.75      0.56%
                                                                            ME               2853    $ 1,217,002.54      0.51%
                                                                            ID               2509    $ 1,061,818.51      0.45%
                                                                            HI               2292    $     978,993.42    0.41%
                                                                            CO               2158    $     920,458.50    0.39%
                                                                            RI               1929    $     824,524.44    0.35%
                                                                            MO               1737    $     760,611.49    0.32%
                                                                            SD               1627    $     686,201.28    0.29%
                                                                            AK               1572    $     676,354.75    0.28%
                                                                            NH               1387    $     603,395.73    0.25%
                                                                            MT               1283    $     548,271.18    0.23%
                                                                            WY                933    $     396,006.50    0.17%
                                                                            ND                816    $     344,936.85    0.14%
                                                                            NY                755    $     336,286.60    0.14%
                                                                            VT                778    $     330,850.35    0.14%
                                                                            AZ                198    $      91,416.00    0.04%
                                                                            MN                102    $      48,584.00    0.02%
                                                                            IN                 12    $       5,385.00    0.00%
                                                                            OH                   7   $       2,932.50    0.00%
                                                                            GA                   5   $       2,465.00    0.00%
                                                                            WV                   2   $       1,130.00    0.00%
                                                                            (blank)              2   $         680.00    0.00%
                                                                            DL                   1   $         480.00    0.00%
                                                                            VA                   1   $         350.00    0.00%
                                                                                         555,814     $ 238,013,985.20 100.00%


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From:                                David Carr <dave@mdwc.net>
Sent:                                Friday, May 2, 2014 11:03 AM
To:                                  Sarah Miller
Cc:                                  Preetesh Patel
Subject:                             Fwd: 81-9MM Riverside Masked
Attachments:                         (Alternate Body)


Hey Sarah
Can you handle this? Would it be easier to do with beam?
We can load the entire unmasked file, add a unique account number and then give them a masked file out of beam.
We don't care about the 573 accounts without lender names. Just eliminate them from the file and we can put on the
side.

Begin forwarded message:From: "Andrew J. Shaevel" <andrew.shaevel@bobalew.com
[mailto:andrew.shaevel@bobalew.com] >
Subject: RE: 81-9MM Riverside Masked
Date: May 2, 2014 9:42:45 AM EDT
To: David Carr <dave@mdwc.net [mailto:dave@mdwc.net] >
Cc: Jon's Gmail Account <barabanus@gmail.com [mailto:barabanus@gmail.com] >

Dave - In order to do this right, please ask Hirsch or his team to add a unique reference number to the unmasked source
file and then send me the masked file with the unique reference number. Once I have this, then we can create a
random sample of the file that we want you to have batched for BK/deceased. These control numbers will enable us to
identify the exact accounts. Also, please note that based on our review of the file, there are 573 accounts without a
lender (this needs to be fixed). Also, the more I look at this file, it appears that this is really just a BMG file. The lenders
are exactly the same as we have in prior BMG files. Is that what this stuff really is??? Lastly, 39% of the file is Riverside,
but we can't find any reference on the web for a lender by this name. Is this really their legal name or is this just
another Evergreen like pseudonym??? In the mean time, we are working on the funds but we need to resolve these
loose ends in order to make this an investable deal. Andy From: David Carr [dave@mdwc.net [mailto:dave@mdwc.net]
]
Sent: Thursday, May 01, 2014 7:07 PM
To: Andrew J. Shaevel (Hylan); Jon Purizhansky (Hylan)
Subject: Fwd: 81-9MM Riverside Masked




IMG [Ashton Asset]


Preetesh Patel has sent you files.




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IMG [&gt;] [https://ashtonasset.sharefile.com/d/470d97ebfc004ea4] Click here to download 81-9MM 5-1 Masked.xlsx
[https://ashtonasset.sharefile.com/d/470d97ebfc004ea4]



Note From Preetesh:81.9MM Masked FileShareFile is a tool for sending, receiving, and organizing your business files
online. It can be used as a password-protected area for sharing information with clients and partners, and it's an easy
way to send files that are too large to e-mail.


Trouble with the above link? You can copy and paste the following URL into your web browser:
https://ashtonasset.sharefile.com/d/470d97ebfc004ea4 [https://ashtonasset.sharefile.com/d/470d97ebfc004ea4]



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From:                               Jeffrey Brooks (Hylan) <Jeff@hylanasset.com>
Sent:                               Monday, December 1, 2014 3:12 PM
To:                                 Hirsh Mohindra
Cc:                                 Jon's Gmail Account ; Preetesh Patel
Subject:                            Re: Two questions
Attachments:                        (Alternate Body)


Sounds good. They have been doing pretty well, but def appreciative of any insight given your experience.


 Jeff Brooks Business Development Executive IMG [206]5477 Main Street [x-apple-data-detectors://0/0] Amherst, NY
14221 [x-apple-data-detectors://0/0] (716) 713-2634 [tel:(716)%20713-2634] - Mobile (716) 580-3135
[tel:(716)%20580-3135] - Hylan Main Office (855) 275-3651 [tel:(855)%20275-3651] - Toll-Free Hot Line (716) 580-3137
[tel:(716)%20580-3137] - Fax www.hylanasset.com [http://www.hylanasset.com/] On Dec 1, 2014, at 3:10 PM, Hirsh
Mohindra <hirsh@ashtonasset.com [mailto:hirsh@ashtonasset.com] > wrote:

we will email you later today on some pointers that will help to work this paper better and get results..
Hirsh. Hirsh Mohindra Ashton Asset Management 500 Quail Ridge Dr., Westmont, IL 60559 M: 630.479.0000 D:
630.243.4210 IMG [96]www.ashtonasset.com [http://www.ashtonasset.com]
On Mon, Dec 1, 2014 at 2:03 PM, Jeffrey Brooks (Hylan) <Jeff@hylanasset.com [mailto:Jeff@hylanasset.com] > wrote:
 I'm traveling. I'm not landing until 810 est. but I'd be happy to talk then. Otherwise let's find a time wed. I will be free
tues evenibg as well. 8pm est.


 Jeff Brooks Business Development Executive IMG [206]5477 Main Street Amherst, NY 14221 (716) 713-2634
[tel:(716)%20713-2634] - Mobile (716) 580-3135 [tel:(716)%20580-3135] - Hylan Main Office (855) 275-3651
[tel:(855)%20275-3651] - Toll-Free Hot Line (716) 580-3137 [tel:(716)%20580-3137] - Fax www.hylanasset.com
[http://www.hylanasset.com/] On Dec 1, 2014, at 3:01 PM, Hirsh Mohindra <hirsh@ashtonasset.com
[mailto:hirsh@ashtonasset.com] > wrote:

yes, lets plan for near end of day on this jeff... say 5pm cst ? (3 hours)
Hirsh. Hirsh Mohindra Ashton Asset Management 500 Quail Ridge Dr., Westmont, IL 60559 M: 630.479.0000
[tel:630.479.0000] D: 630.243.4210 [tel:630.243.4210] IMG [96]www.ashtonasset.com
[http://www.ashtonasset.com]
On Mon, Dec 1, 2014 at 1:58 PM, Jon <barabanus@gmail.com [mailto:barabanus@gmail.com] > wrote:

Preetesh, Hirsh and I spoke about you talking to Jeff on how to best collect on this paper ( the internal ).
Would you be so kind to schedule a call with Jeff and really tell him as much as possible on how to collect on it, the talk
offs, the whole bit ....please be very open with him Hirsh, plz confirm Thank you, Jon Sent from my iPhone On Dec 1,
2014, at 2:42 PM, Preetesh Patel <preetesh@ashtonasset.com [mailto:preetesh@ashtonasset.com] > wrote:

Hi Jeff, I will resend the file. I have not spoken to Ryan. I will call him shortly to find out about the file.
Thanks, Preetesh
On Dec 1, 2014, at 1:34 PM, Jeffrey Brooks (Hylan) <Jeff@hylanasset.com [mailto:Jeff@hylanasset.com] > wrote:

Hey buddy, I hope all is well. Will you send me the guaranteed fast cash (although I may have name wrong) at your
earliest convenience? Also, I believe Ryan spoke with you about batch skipping a file for us. What is the status of this?
Thanks.

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 Jeff Brooks Business Development Executive IMG [206]5477 Main Street Amherst, NY 14221 (716) 713-2634
[tel:(716)%20713-2634] - Mobile (716) 580-3135 [tel:(716)%20580-3135] - Hylan Main Office (855) 275-3651
[tel:(855)%20275-3651] - Toll-Free Hot Line (716) 580-3137 [tel:(716)%20580-3137] - Fax www.hylanasset.com
[http://www.hylanasset.com/]




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     EXHIBIT 4




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From:                            Kelly Brace <ksbrace@hotmail.com>
Sent:                            Wednesday, July 9, 2014 2:51 PM
To:                              josh sullivan; Kelli Mac
Subject:                         Fwd: SUG Overpays
Attachments:                     image001.jpg; ATT00032.htm; SUG Overpayment 06-30-2014.pdf; ATT00035.htm




Sent from my iPhone
Begin forwarded message:

From: "Brian Ogilvie (Hylan)" <brian@hylanasset.com [mailto:brian@hylanasset.com] >
Date: July 9, 2014 at 2:47:46 PM EDT
To: "kelly@solidusgroupllc.com [mailto:kelly@solidusgroupllc.com] " <kelly@solidusgroupllc.com
[mailto:kelly@solidusgroupllc.com] >
Cc: "Ryan Zawistowski (Hylan)" <ryan@hylanasset.com [mailto:ryan@hylanasset.com] >, "Greg Grigoryan (Hylan)"
<Greg@hylanasset.com [mailto:Greg@hylanasset.com] >
Subject: SUG Overpays

 Good Afternoon, This is to inform you that based on your recent remit report and our historical records, that your
agency appears to have collected over the balance due on accounts placed with your agency by Hylan Asset
Management, LLC. Our placement and consignment agreements do not allow for collections over the assigned balance,
and we expect that you will refund the debtor the full amount of any excess collections. You can expect to receive
checks in the mail from Hylan in the amount due back to the debtor from Hylan. Also, please find the attached report
detailing all rejected payments; If this placement is subject to a Hylan consignment, these payments will not count
towards the consignment receivable. If you believe we have rejected any of these payments inappropriately, please do
not hesitate to contact any member of our team.
 Brian Ogilvie Operations Analyst




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From:                            Kelly Brace <ksbrace@hotmail.com>
Sent:                            Tuesday, July 22, 2014 4:21 PM
To:                              Kelli Mac
Subject:                         Fwd: SUG Overpayments
Attachments:                     image001.jpg; ATT00247.htm; SUG Overpayments.pdf; ATT00250.htm


Ur query needs work

Sent from my iPhone

Begin forwarded message:

> From: "Brian Ogilvie (Hylan)" <brian@hylanasset.com>
> Date: July 22, 2014 at 4:05:48 PM EDT
> To: "kelly@solidusgroupllc.com" <kelly@solidusgroupllc.com>
> Subject: SUG Overpayments
>
> Good Morning,
>
>
> This is to inform you that based on your recent remit report and our historical records, that your agency appears to
have collected over the balance due on accounts placed with your agency by Hylan Asset Management, LLC.
>
> Our placement and consignment agreements do not allow for collections over the assigned balance, and we expect
that you will refund the debtor the full amount of any excess collections.
>
> You can expect to receive checks in the mail from Hylan in the amount due back to the debtor from Hylan. Also, please
find the attached report detailing all rejected payments; If this placement is subject to a Hylan consignment, these
payments will not count towards the consignment receivable. If you believe we have rejected any of these payments
inappropriately, please do not hesitate to contact any member of our team.
>
> Thank You,
>
> Brian
>
>
>
>
> Brian Ogilvie
> Operations Analyst
>
>
> 5477 Main Street
> Amherst, NY 14221
> (716) 580-3135 ext: 111 - Office
> (855) 275-3651 - Toll-Free Hot Line
> (716) 580-3137 - Fax
> www.hylanasset.com

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>
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please contact the sender immediately and delete the original message. Thank you.
>
> LEGAL DISCLOSURE: Hylan Asset Management, LLC (“Hylan”) is not offering nor selling securities of any kind. Hylan is
solely an advisory and portfolio management services firm that assists clients to acquire, liquidate and dispose of pools
of distressed consumer receivables ("portfolios"). Investing in distressed consumer receivables is by definition an
alternative investment. There is no way to guarantee a positive return on each and every portfolio acquired, and as
such, Hylan recommends that clients seriously consider limiting their investment in this sector to 5% or less of their net
worth. Hylan only offers its services pursuant to the terms of a Master Servicing Agreement. Prospective clients must
be an accredited investor and must acknowledge that there are inherent risks associated with acquiring portfolios of
distressed consumer receivables. Hylan does not and cannot guarantee any specific return on any investment.
>


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No virus found in this message.
Checked by AVG - www.avg.com
Version: 2014.0.4716 / Virus Database: 3986/7900 - Release Date: 07/22/14




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                              Original                                     Original     Prior    Submitted    Current Amount      Amount Contingency Agency Refund    Hylan Refund
Agency Portfolio   Hylan ID    Acct           Debtor Name      Date Paid   Balance    Payments    Payment    Balance Accepted     Rejected  Rate       to Debtor        to Debtor
 SUG Evergreen 6                         ERICALYNNE HARTZELL   7/11/2014   $ 350.00   $ 300.00   $ 100.00    $ (50.00) $ 50.00    $ 50.00   40%      $        20.00   $       30.00
 SUG Evergreen 6                          JUSTYNE VILLASENOR   7/11/2014   $ 350.00   $ 277.50   $ 138.75    $ (66.25) $ 72.50    $ 66.25   40%      $        26.50   $       39.75
 SUG Evergreen 6                             SUZANNE RUCKS     7/11/2014   $ 260.00   $ 180.00   $ 220.00    $ (140.00) $ 80.00   $140.00   40%      $        56.00   $       84.00
 SUG Evergreen 6                            NICOLE RYLANDER    7/11/2014   $ 350.00   $ 245.00   $ 122.50    $ (17.50) $ 105.00   $ 17.50   40%      $         7.00   $       10.50
 SUG Evergreen 6                              GEORGE LANE      7/11/2014   $ 510.00   $ 365.00   $ 182.50    $ (37.50) $ 145.00   $ 37.50   40%      $        15.00   $       22.50
 SUG Evergreen 6                              NNEKA BETTS      7/11/2014   $ 390.00   $ 100.00   $ 384.04    $ (94.04) $ 290.00   $ 94.04   40%      $        37.62   $       56.42
 SUG Evergreen 6                               KELLY DEPPE     7/11/2014   $ 390.00   $ 390.00   $ 130.00    $ (130.00) $   -     $130.00   40%      $        52.00   $       78.00
 SUG Evergreen 6                           DONALD KRENITSKY     7/7/2014   $ 430.00   $ 400.00   $ 100.00    $ (70.00) $ 30.00    $ 70.00   40%      $        28.00   $       42.00
 SUG Evergreen 6                             KELVIN ROSTON      7/7/2014   $ 350.00   $ 710.00   $ 250.00    $ (610.00) $   -     $250.00   40%      $       100.00   $      150.00
 SUG Evergreen 6                              ASHLEY HUFF       7/8/2014   $ 350.00   $ 200.00   $ 200.00    $ (50.00) $ 150.00   $ 50.00   40%      $        20.00   $       30.00




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     EXHIBIT 5




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From:                      Charity Baldwin <Charity@solidusgroupllc.com>
Sent:                      Thursday, September 4, 2014 1:54 PM
To:                        'Kelly Brace'
Subject:                   Hylan




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